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                  EXHIBIT H
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                                                                             Apple Utility Patents

       Title       Patent Number       Filing Date     Issue Date                                     Abstract                                   Inventor Name(s)         Starting Bates Number
COLD WORKED        US 7,688,574 B2     Jan. 5, 2007   Mar. 30, 2010 A cold worked stainless steel bezel for a portable electronic device is     Stephen P. Zadesky;        SAMNDCA00365600
METAL HOUSING                                                       provided. The bezel is secured flush to a housing to form part of the       Philip M. Hobson;
FOR A PORTABLE                                                      case of the portable electronic device. A brace that includes a slot for    Tang Yew Tan
ELECTRONIC                                                          receiving a wall extending from the bezel is fixed to the housing. When
DEVICE                                                              the bezel engages the housing, the wall of the bezel is inserted in the
                                                                    slot of the brace and releasably held by a spring that engages both the
                                                                    brace and the wall. The bezel can be released by disengaging the
                                                                    spring, (e.g., using a special tool or a magnetic field). Because the bezel
                                                                    is manufactured from cold worked stainless steel, it is hard and
                                                                    resistant to impacts. Cold worked steel also facilitates manufacturing
                                                                    within design constraints and tolerances, and requires very little
                                                                    machining after manufacturing to comply with those constraints. The
                                                                    portable electronic device may include a personal media device, a
                                                                    mobile telephone, or any other suitable device or combination thereof.
HYBRID ANTENNAS   US 2009/0256759 A1 May 13, 2008     Oct. 15, 2009 A portable electronic device is provided that has a hybrid antenna. The    Robert J. Hill; Scott A.   SAMNDCA00366401
FOR ELECTRONIC                                                      hybrid antenna may include a slot antenna structure and an inverted-F      Myers; Robert W.
DEVICES                                                             antenna structure. The slot antenna portion of the hybrid antenna may      Schlub; Dean Floyd
                                                                    be used to provide antenna coverage in a first communications band         Darnell; Zhijun Zhang
                                                                    and the inverted-F antenna portion of the hybrid antenna may be used
                                                                    to provide antenna coverage in a second communications band. The
                                                                    second communications band need not be harmonically related to the
                                                                    first communications band. The electronic device may be formed from
                                                                    two portions. One portion may contain conductive structures that
                                                                    define the shape of the antenna slot. One or more dielectric-filled gaps
                                                                    in the slot maybe bridged using conductive structures on another
                                                                    portion of the electronic device. A conductive trim member may be
                                                                    inserted into an antenna slot to trim the resonant frequency of the slot
                                                                    antenna portion of the hybrid antenna.




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                                                                         Apple Utility Patents

       Title    Patent Number       Filing Date     Issue Date                                    Abstract                               Inventor Name(s)          Starting Bates Number
ANTENNA         US 7,916,089 B2     Jan. 4, 2008   Mar. 29, 2011 Portable electronic devices are provided with wireless circuitry that  Robert W. Schlub;           SAMNDCA00366435
ISOLATION FOR                                                    includes antennas and antenna isolation elements. The antennas may     Robert J. Hill
PORTABLE                                                         include antennas that have multiple arms and that are configured to
ELECTRONIC                                                       handle communications in multiple frequency bands. The antennas may
DEVICES                                                          also include one or more antennas that are configured to handle
                                                                 communications in single frequency band. The antennas may be
                                                                 coupled to different radio-frequency transceivers. For example, there
                                                                 may be first, second, and third antennas and first and second
                                                                 transceivers. The first and third antennas may be coupled to the first
                                                                 transceiver and the second antenna may be coupled to the second
                                                                 transceiver. The antenna isolation elements may be interposed between
                                                                 the antennas and may serve to reduce radio-frequency interference
                                                                 between the antennas. There may be a first antenna isolation element
                                                                 between the first and second antennas and a second antenna isolation
                                                                 element between the second and third antennas.
HYBRID SLOT     US 7,864,123 B2    Aug. 28, 2007   Jan. 4, 2011   Handheld electronic devices are provided that contain wireless            Robert J. Hill; Juan   SAMNDCA00366462
ANTENNAS FOR                                                      communications circuitry. The wireless communications circuitry may       Zavala
HANDHELD                                                          include an antenna. The antenna may be formed from a ground plane
ELECTRONIC                                                        having a dielectric-filled slot that defines slot antenna structure and
DEVICES                                                           having a planar-inverted-F (PIFA) resonating element located above
                                                                  the opening. The slot antenna structure and the PIFA resonating
                                                                  element may both contribute to the performance of the antenna, so that
                                                                  the antenna exhibits the performance of a hybrid PIFA-slot antenna.
                                                                  The PIFA resonating element may contain multiple antenna resonating
                                                                  element branches. The branches may be configured to operate in
                                                                  different communications bands than the slot antenna structure.
MULTIBAND       US 7,768,462 B2    Aug. 22, 2007   Aug. 3, 2010 A handheld electronic device is provided that contain wireless           Zhijun Zhang; Robert      SAMNDCA00366492
ANTENNA FOR                                                     communications circuitry. The wireless communications circuitry may W. Schlub; Robert J.
HANDHELD                                                        include antenna structures. A first antenna may handle first and second Hill; Ruben Caballero
ELECTRONIC                                                      communications bands. A second antenna may handle additional
DEVICES                                                         communications bands. The first and second antennas may be located
                                                                at opposite ends of the handheld electronic device. Conductive
                                                                structures in the handheld electronic device may form an antenna
                                                                ground plane. The antenna ground plane may have portions defining an
                                                                antenna slot. An L-shaped antenna resonating element maybe located
                                                                adjacent to the slot. In the first communications band, the L-shaped
                                                                antenna resonating element may serve as a non-radiating coupling stub
                                                                that excites the antenna slot. In the second communications band, the L-
                                                                shaped antenna resonating element may transmit and receive radio-
                                                                frequency signals.




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                                                                              Apple Utility Patents

       Title       Patent Number       Filing Date      Issue Date                                  Abstract                                       Inventor Name(s)        Starting Bates Number
ANTENNAS FOR       US 7,924,231 B2     Nov. 5, 2010    Apr. 12, 2011 A handheld electronic device may be provided that contains wireless          Robert J. Hill; Robert    SAMNDCA00366518
HANDHELD                                                             communications circuitry. The handheld electronic device may have a          W. Schlub; Ruben
ELECTRONIC                                                           housing and a display. The display may be attached to the housing a          Caballero
DEVICES WITH                                                         conductive bezel. The handheld electronic device may have one or
CONDUCTIVE                                                           more antennas for supporting wireless communications. A ground
BEZELS                                                               plane in the handheld electronic device may serve as ground for one or
                                                                     more of the antennas. The ground plane and bezel may define a
                                                                     opening. A rectangular slot antenna or other suitable slot antenna may
                                                                     be formed from or within the opening. One or more antenna resonating
                                                                     elements may be formed above the slot. An electrical switch that
                                                                     bridges the slot may be used to modify the perimeter of the slot so as to
                                                                     tune the communications bands of the handheld electronic device.
HANDHELD           US 7,911,387 B2     Jun. 21, 2007   Mar. 22, 2011 A handheld electronic device may be provided that contains a                 Robert J. Hill; Robert   SAMNDCA00366552
ELECTRONIC                                                           conductive housing and other conductive elements. The conductive             W. Schlub; Ruben
DEVICE ANTENNAS                                                      elements may form an antenna ground plane. One or more antennas for          Caballero
                                                                     the handheld electronic device may be formed from the ground plane
                                                                     and one or more associated antenna resonating elements. Transceiver
                                                                     circuitry may be connected to the resonating elements by transmission
                                                                     lines such as coaxial cables. Ferrules may be crimped to the coaxial
                                                                     cables. A bracket with extending members may be crimped over the
                                                                     ferrules to ground the coaxial cables to the housing and other
                                                                     conductive elements in the ground plane. The ground plane may
                                                                     contain an antenna slot. A dock connector and flex circuit may overlap
                                                                     the slot in a way that does not affect the resonant frequency of the slot.
                                                                     Electrical components may be isolated from the antenna using isolation
                                                                     elements such as inductors and resistors.
SYSTEMS AND       US 2011/0255218 A1   Jun. 4, 2010    Oct. 20, 2011 This is directed to systems and methods for cover assembly retention of      David Pakula; Scott      SAMNDCA00366742
METHODS FOR                                                          a portable electronic device. In some embodiments, a cover assembly          Myers; Tang Tan;
COVER ASSEMBLY                                                       and/or housing of an electronic device can include one or more               Richard Dinh
RETENTION OF A                                                       retention features such as detents, hooks, tabs, extensions, screw plates,
PORTABLE                                                             screw holes, shuttles, latches, or any combination of the above, for
ELECTRONIC                                                           retaining the cover assembly to the housing. In some embodiments, one
DEVICE                                                               or more retention features can be included on a internal platform of the
                                                                     electronic device to retain the cover assembly. In some embodiments, a
                                                                     hidden screw feature can be included in a SIM tray slot of the
                                                                     electronic device. Once a SIM tray has been inserted into the SIM tray
                                                                     slot, the screw feature can be hidden from sight and may become
                                                                     unapparent to an end user of the electronic device.




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                                                                               Apple Utility Patents

       Title        Patent Number        Filing Date      Issue Date                                     Abstract                                   Inventor Name(s)      Starting Bates Number
INTEGRATED          US 7,728,316 B2     Nov. 15, 2006    Jun. 1, 2010   Apparatuses and methods to sense proximity and to detect light. In one     Anthony M. Fadell;      SAMNDCA00366798
PROXIMITY SENSOR                                                        embodiment, an apparatus includes an emitter of electromagnetic            Achim Pantfoerder
AND LIGHT SENSOR                                                        radiation and a detector of electromagnetic radiation; the detector is
                                                                        configured to detect electromagnetic radiation from the emitter when
                                                                        the apparatus is configured to sense proximity, and the emitter is
                                                                        disabled at least temporarily to allow the detector to detect
                                                                        electromagnetic radiation from a source other than the emitter, such as
                                                                        ambient light. In one implementation of this embodiment, the ambient
                                                                        light is measured by measuring infrared wavelengths. Other
                                                                        apparatuses and methods and data processing systems and machine
                                                                        readable media are also described.
ACOUSTIC SYSTEMS    US 8,055,003 B2     May 13, 2008    Nov. 8, 2011 A portable electronic device may have acoustic ports such as                  Adam D. Mittleman;     SAMNDCA00366832
FOR ELECTRONIC                                                       microphone and speaker ports. Acoustic devices such as microphones            Richard P. Howarth;
DEVICES                                                              and speakers may be associated with the acoustic ports. An acoustic           Chad Seguin
                                                                     port may have an opening between an interior and exterior of the
                                                                     portable electronic device. The opening may be covered by a metal
                                                                     mesh. An acoustic fabric may be interposed between the metal mesh
                                                                     and the opening. The opening may be formed from a hole in a glass
                                                                     member having outer and inner chamfers. A microphone boot may be
                                                                     provided that forms front and rear radial seals with a housing of the
                                                                     device and a microphone unit respectively. The microphone boot may
                                                                     also form multiple face seals with the microphone unit. A speaker for
                                                                     the speaker port may be enclosed in sealed speaker enclosure. The
                                                                     speaker enclosure may have a pressure-equalizing vent slit covered
                                                                     with an acoustic mesh.
PIXEL BLACK MASK   US 2010/0208179 A1   Feb. 13, 2009   Aug. 19, 2010 A display panel is provided having a first substrate including an            Shih Chang Chang;      SAMNDCA00366856
DESIGN AND                                                            electrode configured to generate an electric field and a second substrate    Ming Xu; Mingxia Gu;
FORMATION                                                             including a black mask. The black mask includes an aperture                  Shawn Robert
TECHNIQUE                                                             configured to enable light to be transmitted through the aperture,           Gettemy; John Z.
                                                                      wherein the aperture is at least substantially rectangular and includes      Zhong; Cheng Chen
                                                                      corners that are not substantially chamfered. The display panel also
                                                                      includes liquid crystal disposed between the first and second substrates
                                                                      and configured to facilitate passage of light through the display panel in
                                                                      response to the electric field.
ELECTRONIC          US 7,911,771 B2     May 23, 2007 Mar. 22, 2011 An electronic device is disclosed. The electronic device may include a          John DiFonzo; Chris    SAMNDCA30011796
DEVICE WITH A                                                      first component. The electronic device may also include a metal-                Ligtenberg
METAL-CERAMIC                                                      ceramic composite component coupled to the first component and
COMPOSITE                                                          configured to reinforce at least a portion of the first component in a
COMPONENT                                                          first direction.




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                                                                              Apple Utility Patents

       Title       Patent Number      Filing Date      Issue Date                                    Abstract                                     Inventor Name(s)          Starting Bates Number
PORTABLE           US 7,933,123 B2    May 13, 2008    Apr. 26, 2011 Portable electronic devices are provided. Each device may be formed          Erik L. Wang; Phillip       SAMNDCA30011804
ELECTRONIC                                                          from two parts. A first part may be provided with components such as a       M. Hobson; Kenneth
DEVICE WITH TWO-                                                    display, a touch screen, a cover glass, and a frame. A second part may       A. Jenks; Adam D.
PIECE HOUSING                                                       be provided with a plastic housing, circuit boards containing electrical     Mittleman
                                                                    components, and bezel. Engagement members may be connected to the
                                                                    first and second parts. The engagement members may be formed from
                                                                    metal clips with holes and springs with flexible spring prongs that mate
                                                                    with the holes in the clips. The metal clips may be welded to frame
                                                                    struts on the frame and the springs may be welded to the bezel. During
                                                                    assembly, the first part may be rotated into place within the second
                                                                    part. Retention clips attached to the frame may be used to secure the
                                                                    two parts together. Assembly instructions and associated connector
                                                                    numbers may be provided within the devices.
LENS BAFFLE        US 8,000,598 B1    Jun. 25, 2010   Aug. 16, 2011 A lens assembly includes a brush-like baffle between the lens and a          Richard Tsai               SAMNDCA30011845
                                                                    transparent cover. The baffle at least partially surrounds the lens to
                                                                    prevent stray light from entering and causing flare or other image
                                                                    artifacts. If the baffle does not entirely surround the lens structure, an
                                                                    adjustment mechanism may be provided to rotate the baffle so as to
                                                                    "tune" a flare reduction effect.
HYBRID ANTENNAS    US 8,106,836 B2    May 13, 2008    Jan. 31, 2012 A portable electronic device is provided that has a hybrid antenna. The      Robert J. Hill; Scott A.   SAMNDCA30011852
FOR ELECTRONIC                                                      hybrid antenna may include a slot antenna structure and an inverted-F        Myers; Robert W.
DEVICES                                                             antenna structure. The slot antenna portion of the hybrid antenna may        Schlub; Dean Floyd
                                                                    be used to provide antenna coverage in a first communications band           Darnell; Zhijun Zhang
                                                                    and the inverted-F antenna portion of the hybrid antenna may be used
                                                                    to provide antenna coverage in a second communications band. The
                                                                    second communications band need not be harmonically related to the
                                                                    first communications band. The electronic device may be formed from
                                                                    two portions. One portion may contain conductive structures that
                                                                    define the shape of the antenna slot. One or more dielectric-filled gaps
                                                                    in the slot maybe bridged using conductive structures on another
                                                                    portion of the electronic device. A conductive trim member may be
                                                                    inserted into an antenna slot to trim the resonant frequency of the slot
                                                                    antenna portion of the hybrid antenna.




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                                                                             Apple Utility Patents

       Title       Patent Number       Filing Date     Issue Date                                   Abstract                                     Inventor Name(s)         Starting Bates Number
PORTABLE           US 8,106,856 B2    Aug. 30, 2007   Jan. 31, 2012 A portable electronic device with a touch screen display for photo          Michael Matas; Greg        SAMNDCA30011886
ELECTRONIC                                                          management is disclosed. One aspect of the invention involves a             Christie; Paul D.
DEVICE FOR PHOTO                                                    computer-implemented method in which the portable electronic device         Marcos; Scott Forstall;
MANAGEMENT                                                          displays an array of thumbnail images corresponding to a set of             Marcel Van Os; Bas
                                                                    photographic images. The device replaces the displayed array of             Ording; Imran
                                                                    thumbnail images with a user-selected photographic image upon               Chaudhri
                                                                    detecting a user contact with a corresponding thumbnail image in the
                                                                    array. The user-selected photographic image is displayed at a larger
                                                                    scale than the corresponding thumbnail image. The portable device
                                                                    displays a different photographic image in replacement of the user-
                                                                    selected photographic image in accordance with a scrolling gesture.
                                                                    The scrolling gesture comprises a substantially horizontal movement of
                                                                    user contact with the touchscreen display.
WIRELESS           US 8,131,315 B2    Nov. 25, 2008   Mar. 6, 2012 An electronic device such as a handheld electronic device may include        Ching Yu John Tam         SAMNDCA30011942
ELECTRONIC                                                         wireless communications circuitry. The wireless communications
DEVICE WITH                                                        circuitry may include a radio-frequency receiver circuit or other
MULTIMODE AUDIO                                                    circuitry that is sensitive to noise. Audio amplifier circuitry may be
AMPLIFIER                                                          provided in the electronic device to amplify audio signals for a speaker.
                                                                   The audio amplifier circuitry may include class AB amplifier circuitry
                                                                   for operating in a low noise mode and class D amplifier circuitry for
                                                                   operating in a low power mode. The audio amplifier circuitry may
                                                                   include a control input path that receives control signals in real time.
                                                                   When it is determined that the wireless receiver or other sensitive
                                                                   circuit is active, the audio amplifier can be configured to operate in its
                                                                   low noise mode using the class AB amplifier. When it is determine that
                                                                   the wireless receiver is not being used, the class D circuitry may be
                                                                   switched into use to conserve power.
DYNAMIC THERMAL    US 8,170,606 B2    Oct. 15, 2008   May 1, 2012 Methods and apparatus for dynamic thermal management and control              John G. Dorsey;           SAMNDCA30011956
CONTROL FOR                                                       within, e.g., small form-factor wireless devices such as laptop               William C. Athas
WIRELESS                                                          computers or cellular "smartphones". In one embodiment, a thermal
TRANSCEIVERS                                                      management system monitors the temperature (or other relevant
                                                                  criteria) for one or more components, and implements different
                                                                  operating states within the wireless transceiver (e.g., Wi-Fi™ or
                                                                  WiMAX transceiver) so as to both reduce thermal output and minimize
                                                                  disruption to the wireless link and/or user experience. In another
                                                                  embodiment, a wireless client may communicate with other clients,
                                                                  and/or access points, so as to cooperatively provide more options for
                                                                  thermal management. In addition, methods and apparatus employing
                                                                  "high performance" (e.g., high power output or high data rate) radios
                                                                  within aggressively small industrial designs are also disclosed.




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                                                                           Apple Utility Patents

      Title       Patent Number      Filing Date   Issue Date                                  Abstract                                       Inventor Name(s)        Starting Bates Number
ELECTRO-          US 8,190,017 B2    May 13, 2011 May 29, 2012 A method in a camera device having an image sensor and an electro-            Richard Tsai              SAMNDCA30011984
MECHANICAL                                                     mechanical shutter mechanism is as follows. A constant drive current is
SHUTTER CONTROL                                                applied to the shutter mechanism to close shutter at the end of a first
                                                               exposure. Then, a decaying drive current is applied to the shutter
                                                               mechanism during a readout interval for the first exposure. Other
                                                               embodiments are also described and claimed. Other embodiments are
                                                               also described and claimed. (sic )
WIRELESS          US 8,233,950 B2     Jan. 2, 2008   Jul. 31, 2012 A handheld device may include one or more antennas and a connector        Phillip M. Hobson;       SAMNDCA30011993
PORTABLE DEVICE                                                    both disposed at a base of the handheld device. The connector may         Robert J. Hill; Robert
WITH REDUCED RF                                                    have a shell comprising a conductive material. The connector shell may    W. Schlub; Juan
SIGNAL                                                             include at least one opening in a portion of the conductive material to   Zavala; Tang Yew
INTERFERENCE                                                       reduce electromagnetic interference between the connector shell and       Tan; Richard Hung
                                                                   the one or more antennas.                                                 Minh Dinh; Kenneth
                                                                                                                                             A. Jenks; Robert Sean
                                                                                                                                             Murphy; Erik L. Wang
DYNAMIC THERMAL   US 8,244,296 B2    Oct. 15, 2008   Aug. 14, 2012 Methods and apparatus for dynamic thermal management and control          John G. Dorsey;          SAMNDCA30012015
CONTROL FOR                                                        within, e.g., small form-factor wireless devices such as laptop           William C. Athas
WIRELESS                                                           computers or cellular "smartphones". In one embodiment, a thermal
TRANSCEIVERS                                                       management system monitors the temperature (or other relevant
                                                                   criteria) for one or more components, and implements different
                                                                   operating states within the wireless transceiver (e.g., Wi-FiTM or
                                                                   WiMAX transceiver) so as to both reduce thermal output and minimize
                                                                   disruption to the wireless link and/or user experience. In another
                                                                   embodiment, a wireless client may communicate with other clients,
                                                                   and/or access points, so as to cooperatively provide more options for
                                                                   thermal management. In addition, methods and apparatus employing
                                                                   "high performance" (e.g., high power output or high data rate) radios
                                                                   within aggressively small industrial designs are also disclosed.




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                                                                              Apple Utility Patents

       Title        Patent Number       Filing Date     Issue Date                                    Abstract                                   Inventor Name(s)       Starting Bates Number
EDGE-LIT            US 8,248,554 B2    Jun. 19, 2009   Aug. 21, 2012 An edge-lit backlight unit for a display is provided. In one               Jun Qi; Victor H.Yin;    SAMNDCA30012043
BACKLIGHT UNIT                                                       embodiment, the backlight unit may include a light guide configured to John Z.Zhong; Wei
WITH THIN PROFILE                                                    receive light from a source and emit such light in a broad distribution to Chen
                                                                     a turning film disposed over the light guide. The turning film may be
                                                                     configured to redirect light received from the light guide toward a
                                                                     normal of the turning film. In one embodiment, the light guide may be
                                                                     configured such that peak light distribution therefrom occurs at an
                                                                     incident angle of approximately sixty degrees, with broad light
                                                                     distribution substantially occurring over an angular range between
                                                                     incident angles of thirty-five and eighty-five degrees. Additionally, in
                                                                     one embodiment, the turning film may include multiple prisms that
                                                                     receive and redirect the light emitted from the light guide, and that
                                                                     include apex angles of less than or about sixty degrees. Additional edge-
                                                                     lit backlight units and methods are also disclosed.
METHOD FOR          US 8,250,724 B2    Feb. 25, 2010   Aug. 28, 2012 A minimum Z height handheld electronic device and methods of               Teodor Dabov; Hui       SAMNDCA30012064
HANDHELD                                                             assembly is described. The electronic device includes a single seamless    Leng Lim; Kyle
COMPUTER DEVICE                                                      housing having a front opening and a cover disposed within the front       Yeates; Stephen Brian
                                                                     opening and attached to the seamless housing without a bezel.              Lynch
PORTABLE TOUCH      US 8,255,810 B2     Feb. 4, 2009   Aug. 28, 2012 In some embodiments, a computer-implemented method performed at a          Bradford Allen Moore;   SAMNDCA30012105
SCREEN DEVICE,                                                       portable electronic device with a touch screen display includes            Bas Ording; Elizabeth
METHOD, AND                                                          simultaneously displaying a character input area operable to display       Caroline Furches;
GRAPHICAL USER                                                       text character input and emoji character input selected by a user, a       Stephen J. Chick;
INTERFACE FOR                                                        keyboard display area, and a plurality of emoji category icons. In         Kenneth L. Kocienda
USING EMOJI                                                          response to detecting a gesture on a respective emoji category icon, the
CHARACTERS                                                           method also includes simultaneously displaying: a first subset of emoji
WHILE IN A LOCKED                                                    character keys for the respective emoji category in the keyboard display
MODE                                                                 area and a plurality of subset-sequence-indicia icons for the respective
                                                                     emoji category. The method also includes detecting a gesture in the
                                                                     keyboard display area and, in response: replacing display of the first
                                                                     subset of emoji character keys with display of a second subset of emoji
                                                                     character keys for the respective emoji category, and updating the
                                                                     information provided by the subset-sequence-indicia icons.




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       Title      Patent Number        Filing Date     Issue Date                                  Abstract                                       Inventor Name(s)        Starting Bates Number
HYBRID ANTENNAS   US 8,259,017 B2     Dec. 22, 2011   Sep. 4, 2012 A portable electronic device is provided that has a hybrid antenna. The       Robert W. Schlub;         SAMNDCA30012181
FOR ELECTRONIC                                                     hybrid antenna may include a slot antenna structure and a planar              Qingxiang Li; Juan
DEVICES                                                            inverted-F antenna structure. The planar inverted-F antenna structure         Zavala; Robert J. Hill
                                                                   may be formed from traces on a flex circuit substrate. A backside trace
                                                                   may form a series capacitance for the planar inverted-F antenna
                                                                   structure. The antenna slot may have a perimeter that is defined by the
                                                                   location of conductive structures such as flex circuits, metal housing
                                                                   structures, a conductive bezel, printed circuit board ground conductors,
                                                                   and electrical components. Springs maybe used in electrically
                                                                   connecting these conductive elements. A spring-loaded pin may be
                                                                   used as part of an antenna feed conductor. The pin may connect a
                                                                   transmission line path on a printed circuit board to the planar inverted-
                                                                   F antenna structure while allowing the planar inverted-F antenna
                                                                   structure to be removed from the device for rework or repair.
SYSTEMS AND       US 8,264,837 B2     Jun. 4, 2010    Sep. 11, 2012 This is directed to systems and methods for cover assembly retention of      David Pakula; Scott      SAMNDCA30012206
METHODS FOR                                                         a portable electronic device. In some embodiments, a cover assembly          Myers; Tang Tan;
COVER ASSEMBLY                                                      and/or housing of an electronic device can include one or more               Richard Dinh
RETENTION OF A                                                      retention features such as detents, hooks, tabs, extensions, screw plates,
PORTABLE                                                            screw holes, shuttles, latches, or any combination of the above, for
ELECTRONIC                                                          retaining the cover assembly to the housing. In some embodiments, one
DEVICE                                                              or more retention features can be included on an internal platform of
                                                                    the electronic device to retain the cover assembly. In some
                                                                    embodiments, a hidden screw feature can be included in a SIM tray slot
                                                                    of the electronic device. Once a SIM tray has been inserted into the
                                                                    SIM tray slot, the screw feature can be hidden from sight and may
                                                                    become unapparent to an end user of the electronic device.
INTERNAL EDGE     US 8,292,664 B2     Sep. 30, 2010   Oct. 23, 2012 Edge connectors to connect a daughter or optional board to an edge of        Joshua Funamura;         SAMNDCA30012238
CONNECTOR                                                           a main or motherboard. These connectors may have a low profile or            Zheng Gao; Steve
                                                                    height to save space in electronic devices, and allow electronic devices     McClure
                                                                    incorporating the connector have a thin form factor. These connectors
                                                                    may also provide for reliable manufacturing by providing a robust
                                                                    connection to a motherboard and easy insertion of a daughter card.




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       Title       Patent Number        Filing Date     Issue Date                                    Abstract                                       Inventor Name(s)      Starting Bates Number
LCD PIXEL DESIGN   US 8,294,647 B2     Feb. 13, 2009   Oct. 23, 2012 A liquid crystal display (LCD) having a plurality of pixels is provided.       Cheng Chen; Ming        SAMNDCA30012247
VARYING BY COLOR                                                     In one embodiment, the pixels of the LCD each include common and               Xu; Mingxia Gu; Shih
                                                                     pixel electrodes formed on an insulating layer, and a liquid crystal layer     Chang Chang; Shawn
                                                                     responsive to electric fields generated by the electrodes. The plurality       Robert Gettemy; John
                                                                     of pixels may include two or more sets of pixels each configured to            Z. Zhong
                                                                     transmit light of a different color, and the pixel electrodes of one set of
                                                                     pixels may be configured differently from those of another set. In other
                                                                     embodiments, the sizes of the pixels may differ. Various additional
                                                                     devices and methods are also provided.
CANTILEVERED       US 8,299,381 B2     Nov. 30, 2010   Oct. 30, 2012 A cantilevered push button adapted for accepting an input on an                Bradley J. Hamel;      SAMNDCA30012268
PUSH BUTTON                                                          electrical or electronic device is disclosed. The button can include an        Tang Yew Tan; Erik
                                                                     elongated button top component disposed about an exterior surface of           Wang
                                                                     an electrical or electronic device such that it is accessible to a user, and
                                                                     having two opposing distal ends associated with separate user inputs. A
                                                                     first fulcrum is located between the first distal end and the midpoint of
                                                                     the elongated button top component, while a second fulcrum is located
                                                                     between the second distal end and the midpoint. A first electrical
                                                                     contact is associated with the first distal end, such that when a user
                                                                     presses on the first distal end, the elongated button top component
                                                                     pivots about the second fulcrum and the first electrical contact is
                                                                     actuated. A second electrical contact is similarly associated with the
                                                                     second distal end and first fulcrum.
MINI-SIM           US 8,337,223 B2     Sep. 30, 2010   Dec. 25, 2012 Connectors that may allow SIM cards to be easily removed and                   Zheng Gao; Benjamin    SAMNDCA30012281
CONNECTOR                                                            replaced, may be resistant to damage by an improper insertion of a SIM         Rappoport; Steve
                                                                     card, and may provide reliable mechanical performance. One example             McClure
                                                                     may provide a plunger system where a user can push on a plunger rod
                                                                     and eject a SIM card. Another example may provide contacts that are
                                                                     not damaged by improper insertion of a SIM card. Another example
                                                                     may provide a plastic housing, the housing reinforced by a metallic
                                                                     shield and having a relatively uniform thickness.
HEAT VALVE FOR     US 8,339,787 B2     Sep. 8, 2010    Dec. 25, 2012 A thermal valve for controlling heat transfer between two electronic           Richard Tsai           SAMNDCA30012290
THERMAL                                                              components is disclosed. The thermal valve includes a first thermally
MANAGEMENT IN A                                                      conductive strip that is secured to the first electronic component and a
MOBILE                                                               second thermally conductive strip that is secured to the second
COMMUNICATIONS                                                       electronic component. The first strip and the second strip are located
DEVICE                                                               between the two electronic components. The first strip changes its
                                                                     shape toward making contact with the second strip in response to a
                                                                     temperature increase of the first electronic component, and the second
                                                                     strip changes its shape away from making contact with the first strip in
                                                                     response to a temperature increase of the second electronic component.
                                                                     Other embodiments are also described and claimed.


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                                                                              Apple Utility Patents

        Title      Patent Number        Filing Date     Issue Date                                    Abstract                                    Inventor Name(s)        Starting Bates Number
LIGHT ISOLATING    US 8,364,032 B2     Feb. 21, 2012   Jan. 29, 2013 A portable device has a rear facing camera assembly and a front facing      Chong Yip Chow;           SAMNDCA30012300
PROTECTIVE COVER                                                     display assembly that includes at least a protective cover layer, a         Hongqin Zhang;
FOR SMALL FORM                                                       display stack that includes a plurality of display components arranged      Shizhe Shen; Michael
FACTOR                                                               in a plurality of interconnected layers, the display stack providing an     DiVincent
ELECTRONIC                                                           imaging service, and a flat support chassis arranged to provide support
DEVICE                                                               for the display stack. In the described embodiment, a protective cover
                                                                     can wrap around and protect at least the rear portion of the portable
                                                                     device without adversely affecting an image capture process carried out
                                                                     by the rear facing camera assembly.
PROXIMITY          US 8,381,135 B2     Sep. 30, 2005   Feb. 19, 2013 Proximity based systems and methods that are implemented on an              Steve P. Hotelling;      SAMNDCA30012321
DETECTOR IN                                                          electronic device are disclosed. The method includes sensing an object      Brian Q. Huppi;
HANDHELD DEVICE                                                      spaced away and in close proximity to the electronic device. The            Joshua A. Strickson;
                                                                     method also includes performing an action in the electronic device          Duncan Robert Kerr;
                                                                     when an object is sensed.                                                   Bas Ording; Imran
                                                                                                                                                 Chaudhri; Greg
                                                                                                                                                 Christie; Jonathan P.
                                                                                                                                                 Ive; Peter J. Kennedy;
                                                                                                                                                 Anthony M.Fadell;
                                                                                                                                                 Jeffrey L. Robbin
CLEANABLE AND      US 8,393,802 B2     Sep. 30, 2010   Mar. 12, 2013 An optical connector having a body with an outer surface, a first cavity    Craig Stanley; Albert    SAMNDCA30012369
SELF-CLEANING                                                        extending within the body from the outer surface and a second cavity        John Golko; Felix J.
FIBER OPTIC                                                          spaced apart from the first cavity and extending within the body of the     Alvarez Rivera
CONNECTOR                                                            connector from the outer surface. An optical component is positioned
                                                                     within the first cavity and an ejector, which extents into the second
                                                                     cavity, is coupled to the optical component. A biasing mechanism is
                                                                     operatively coupled to apply a biasing force to the ejector to secure the
                                                                     optical component within the first cavity. When a force greater than the
                                                                     biasing force is applied to the ejector within the second cavity, the
                                                                     ejector ejects the optical component from the first cavity so that it
                                                                     extends beyond the outer surface.




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                                                                             Apple Utility Patents

        Title      Patent Number        Filing Date     Issue Date                                   Abstract                                   Inventor Name(s)      Starting Bates Number
ENABLING SPEAKER   US 8,401,593 B2     Feb. 28, 2012   Mar. 19, 2013 Apparatuses and methods of using a speaker phone mode of a portable       Anand Sethuraman; E-    SAMNDCA30012378
PHONE MODE OF A                                                      voice communications device having a built-in camera are described        Cheng Chang
PORTABLE VOICE                                                       herein. In one embodiment, the speakerphone mode is activated if it is
COMMUNICATIONS                                                       determined that an image captured by the device is black or nearly
DEVICE HAVING A                                                      black, which indicates that the device is placed flat or nearly flat
BUILT-IN CAMERA                                                      against surface. In one embodiment, the speaker phone mode is
                                                                     activated based on the results of comparing the captured image to a
                                                                     plurality of previously stored captured images wherein the previously
                                                                     stored captured images include images captured by the device in
                                                                     situations where it would be desirable for the speaker phone mode to be
                                                                     activated. In one embodiment, the speaker phone mode is activated
                                                                     based on a comparison of a captured image and previously stored
                                                                     captured images and their respective speaker phone mode statuses.
                                                                     Other embodiments are also described.
WIRELESS           US 8,437,793 B2     Nov. 24, 2009   May 7, 2013 Test systems are provided for performing testing and calibration         David A. Donovan;         SAMNDCA30012390
TRANSMITTER                                                        operations on wireless circuitry in electronic devices. The electronic   Justin Gregg
CALIBRATION                                                        devices may include cellular telephones and other portable electronic
USING ABSOLUTE                                                     devices. Wireless circuitry in a device may include a radio-frequency
POWER REQUESTS                                                     transceiver that is controlled based on radio-frequency transceiver
                                                                   control signals. The wireless circuitry may also include power amplifier
                                                                   circuitry. The power amplifier circuitry may receive radio-frequency
                                                                   signals from the transceiver and may produce correspondingly
                                                                   amplified radio-frequency output signals for wireless transmission with
                                                                   an antenna. The power amplifier circuitry may be powered by a bias
                                                                   voltage. The test systems may provide the electronic device with a
                                                                   transmit power request that directs the electronic device to produce a
                                                                   desired output power. The test systems may measure the actual
                                                                   resulting power. After sufficient measurements have been made, the
                                                                   test systems may calibrate the transceiver and power amplifier settings.
WATER INHIBITING   US 8,440,922 B2     Dec. 16, 2010   May 14, 2013 Electromechanical switches are provided. The electromechanical             Kyle Yeates; Teodor    SAMNDCA30012407
SLIDE SWITCH                                                        switches can include conductive components that are configured to          Dabov
                                                                    change position relative to one another in response to a mechanical
                                                                    input. The electromechanical switch can include a distribution
                                                                    mechanism for replenishing a moisture inhibiting layer, such as an
                                                                    oleophobic material, on surface portions of conductive components
                                                                    within the switch. During actuation of the electromechanical switch,
                                                                    the distribution mechanism can be configured to reapply the moisture
                                                                    inhibiting material to the surface portions of the conductive
                                                                    components to prevent damage resulting from moisture intrusion.




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                                                                              Apple Utility Patents

       Title      Patent Number        Filing Date     Issue Date                                     Abstract                                      Inventor Name(s)       Starting Bates Number
CLICKABLE AND     US 8,462,133 B2     Sep. 29, 2008   Jun. 11, 2013 Methods and apparatus for provide physical buttons for use on a touch          Stephen Brian Lynch;     SAMNDCA30012428
TACTILE BUTTONS                                                     surface are disclosed. According to one aspect of the present invention,       John Benjamin Filson;
FOR A TOUCH                                                         an apparatus includes a display arrangement and a first button                 Fletcher R. Rothkopf
SURFACE                                                             attachment structure. The display arrangement includes a first surface
                                                                    which has a first touch-sensitive area. The first touch-sensitive area is
                                                                    capable of sensing touch. The first button attachment structure includes
                                                                    a first attachment area and a first button actuation area. The first
                                                                    attachment area is mounted on the first surface such that the first button
                                                                    actuation is aligned at least partially over the first touch-sensitive area.
                                                                    The first button actuation area is arranged to deform when a force is
                                                                    applied to the first button actuation area to engage the first touch-
                                                                    sensitive area.
CONNECTOR         US 8,465,308 B2     Oct. 15, 2010   Jun. 18, 2013 Connectors that may be incorporated and used in electronic devices in a        Zheng Gao; Greg         SAMNDCA30012445
HAVING SELF-                                                        reliable manner. One example may provide a connector that may                  Springer; William
WIPING CONTACTS                                                     receive a memory card, such as a Secure Digital, SmartMedia, Compact           Long; John Raff;
                                                                    Flash, or other type of memory card. One example may provide a                 Laura DeForest
                                                                    connector that may connect to other electronic circuits and components
                                                                    in an electronic device in a reliable manner. Another may provide a
                                                                    connector that may reliably form a connection for electromagnetic
                                                                    interference protection during device assembly. Another may provide a
                                                                    connector that may be resistant to damage from debris or other
                                                                    particulate matter that may enter the connector. Another example may
                                                                    provide a connector that has a back that is reinforced to prevent
                                                                    damage caused by the insertion of a card with excessive force. Another
                                                                    may provide a connector having a raised portion arranged to fit in an
                                                                    opening in a printed circuit board.




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                                                                               Apple Utility Patents

       Title        Patent Number       Filing Date      Issue Date                                    Abstract                                     Inventor Name(s)     Starting Bates Number
ELECTRONIC          US 8,466,839 B2     Dec. 7, 2009    Jun. 18, 2013 Antennas are provided for electronic devices such as portable                Robert W. Schlub;      SAMNDCA30012460
DEVICES WITH                                                          computers. An electronic device may have a housing in which an               David T. Amm; Omar
PARASITIC                                                             antenna is mounted. The housing may be formed of conductive                  S. Leung; Brian M.
ANTENNA                                                               materials. A dielectric antenna window may be mounted in the housing         King; Qingxiang Li;
RESONATING                                                            to allow radio-frequency signals to be transmitted from the antenna and      Enrique Ayala
ELEMENTS THAT                                                         to allow the antenna to receive radio-frequency signals. Near-field          Vazquez; Rodney
REDUCE NEAR FIELD                                                     radiation limits may be satisfied by reducing transmit power when an         Andres Gomez
RADIATION                                                             external object is detected in the vicinity of the dielectric antenna        Angulo; Yi Jiang;
                                                                      window and the antenna. A proximity sensor may be used in detecting          Ruben Caballero
                                                                      external objects. A parasitic antenna resonating element may be
                                                                      interposed between the antenna resonating element and the dielectric
                                                                      antenna window to minimize near-field radiation hotspots. The
                                                                      parasitic antenna resonating element may be formed using a capacitor
                                                                      electrode for the proximity sensor. A ferrite layer may be interposed
                                                                      between the parasitic element and the antenna window.
COOLING SYSTEM      US 8,477,490 B2     May 2, 2011     Jul. 2, 2013   A cooling system for a mobile computing device configured to drive          Fletcher Rothkopf;    SAMNDCA30012482
FOR MOBILE                                                             two devices, a fan and an alert device. The fan cools components of the     Teodor Dabov; David
ELECTRONIC                                                             mobile computing device by exchanging air between an inner cavity of        Kumka
DEVICES                                                                the mobile computing device and an outer environment surrounding the
                                                                       mobile computing device. The alert device produces an alert, e.g., a
                                                                       vibration. for the mobile computing device. The cooling system
                                                                       includes a motor operably connected to a first device (either the fan or
                                                                       the alert device) and operably connected via a clutch to a second device
                                                                       (either the fan or the alert device). The clutch allows the second device
                                                                       to be selectively activated depending on a speed or rotational direction
                                                                       of a drive shaft of the motor.
MECHANISMS FOR      US 8,482,305 B2     Aug. 11, 2010   Jul. 9, 2013   A component carrier has formed therein a water sensor, having a first       Timothy M. Johnson    SAMNDCA30012503
DETECTING                                                              patterned conductor piece formed in a metal layer of the component
EXPOSURE TO                                                            carrier and a bridge being an amount of water-soluble conductive glue
WATER IN AN                                                            filling an electrically insulating gap between the patterned conductor
ELECTRONIC                                                             piece and another conductor in the carrier. This forms a conductive
DEVICE                                                                 path between the patterned conductor piece and the another conductor.
                                                                       A sensing circuit is coupled to detect changes in impedance of the path.
                                                                       In another embodiment, a discrete component has a pair of terminals
                                                                       with a bridge being an amount of water-soluble conductive glue filling
                                                                       the electrically insulating gap between the terminals to form a
                                                                       conductive path whose impedance changes in response to coming into
                                                                       contact with a sufficient amount of water. Other embodiments are also
                                                                       described and claimed.




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                                                                               Apple Utility Patents

      Title        Patent Number        Filing Date     Issue Date                                     Abstract                                     Inventor Name(s)       Starting Bates Number
BATTERY            US 8,498,112 B2     Dec. 31, 2012   Jul. 30, 2013 A battery assembly includes at least a plurality of battery cells that        Val Valentine; Sheba     SAMNDCA30012520
ASSEMBLY FOR                                                         includes at least a first and a second battery cell each attached to a        Devan; Stephen R.
BATTERY POWERED                                                      distributed battery monitoring unit, the second battery cell being            McClure; Scott J.
PORTABLE DEVICES                                                     associated with an external circuit, the second battery cell connected to     Hagadone
                                                                     a battery management unit (BMU) by way of a pre-formed battery
                                                                     contact shaped to accommodate the external circuit. The plurality of
                                                                     battery cells are electrically connected to at least the BMU such that
                                                                     each of the plurality of battery cells are substantially aligned with each
                                                                     other thereby preserving a battery profile corresponding to unconnected
                                                                     battery cells.
MULTIPLE-USE       US 8,509,455 B2     Oct. 15, 2012   Aug. 13, 2013 Two or more acoustic transducers share the same acoustic port in a            Justin Gregg; Michael   SAMNDCA30012538
ACOUSTIC PORT                                                        device. The acoustic properties–such as acoustic impedance and                M. Lee; Chad Seguin
                                                                     frequency response–of the shared acoustic port are matched to each of
                                                                     the two or more acoustic transducers. To accomplish acoustic
                                                                     impedance matching, a separate back volume is provided for each of
                                                                     the acoustic transducers, matched to that transducer. Frequency
                                                                     response matching can be accomplished by the design of the transducer
                                                                     itself, but also by providing an adjacent element in the acoustic system
                                                                     of the transducer. One transducer may serve as an element in the
                                                                     acoustic system of another transducer. Frequency response adjustment
                                                                     of an individual element may also affect acoustic impedance of the
                                                                     entire port-transducer system.
INTEGRATED FRAME   US 8,518,569 B2     Mar. 1, 2010    Aug. 27, 2013 An electrolyte containment structure for an electrode jelly roll and          R. Sean Murphy;         SAMNDCA30012545
BATTERY CELL                                                         electrolyte in a portable power source is described. The electrolyte          Thomas W. Wilson
                                                                     containment structure comprises metal foil, such as metal foil sleeve,
                                                                     coupled to and partially surrounding a rigid frame. The rigid frame can
                                                                     protect the electrode jelly roll edges from crush events. To prevent
                                                                     shorts, the metal foil can be coated in plastic, which can insulate the
                                                                     metal foil from the electrode jelly roll. Further, the plastic can serve as
                                                                     a bonding and sealing agent. For instance, the metal foil can be coupled
                                                                     to the rigid frame using a thermal bonding method involving melting of
                                                                     the plastic. The rigid frame can provide a platform for connector pads
                                                                     and safety circuitry associated with the portable power source. The
                                                                     connector pads and safety circuitry can be assembled as modular
                                                                     components, which can simplify the assembly process The containment
                                                                     structure provides features associated with a pouch cell battery design,
                                                                     such as a light-weight metal foil pouch, but can be utilized in a portable
                                                                     computing device without being enclosed in a hard casing traditionally
                                                                     associated with pouch cell battery designs.




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                                                                               Apple Utility Patents

       Title       Patent Number        Filing Date     Issue Date                                     Abstract                                   Inventor Name(s)         Starting Bates Number
SEAMLESS INSERT    US 8,570,729 B2     Sep. 14, 2012   Oct. 29, 2013 Methods and apparatus for using an insert molding process to form a         Christopher Prest; Eric    SAMNDCA30012560
MOLDING                                                              tactilely seamless overall part from component parts that are made from     Wang; Bradley J.
TECHNIQUES                                                           different materials are disclosed. According to one aspect of the present   Hamel; Phillip Michael
                                                                     invention, a housing includes a first part formed from a first material     Hobson
                                                                     and a second part formed from a second material that is of a different
                                                                     type than the first material. The first part includes a first external
                                                                     surface and a first bonding surface, and the second part includes a
                                                                     second external surface and a second bonding surface. The second
                                                                     bonding surface can be integrally bonded to the first bonding surface so
                                                                     that the first external surface and the second external surface form a
                                                                     gap-free overall surface.
ANTENNA WITH       US 8,577,289 B2     Feb. 17, 2011   Nov. 5, 2013 An electronic device may have a housing in which an antenna is               Robert W. Schlub; Yi      SAMNDCA30012573
INTEGRATED                                                          mounted. An antenna window may be mounted in the housing to allow            Jiang; Qingxiang Li;
PROXIMITY SENSOR                                                    radio-frequency signals to be transmitted from the antenna and to allow      Jiang Zhu; Ruben
FOR PROXIMITY-                                                      the antenna to receive radio-frequency signals. Near-field radiation         Caballero
BASED RADIO-                                                        limits may be satisfied by reducing transmit power when an external
FREQUENCY POWER                                                     object is detected in the vicinity of the dielectric antenna window and
CONTROL                                                             the antenna. A capacitive proximity sensor may be used in detecting
                                                                    external objects in the vicinity of the antenna. The proximity sensor
                                                                    and the antenna may be formed using integral antenna resonating
                                                                    element and proximity sensor capacitor electrode structures. These
                                                                    structures may be formed from identical first and second patterned
                                                                    conductive layers on opposing sides of a dielectric substrate. A
                                                                    transceiver and proximity sensor may be coupled to the structures
                                                                    through respective high-pass and low-pass circuits.
LOW RISE CAMERA    US 8,605,211 B2     Apr. 28, 2011   Dec. 10, 2013 A printed circuit carrier has an opening therein against which a back       Steven Webster;           SAMNDCA30012593
MODULE                                                               plate is attached to thereby form a cavity. An image sensor device is       Thomas B. Templeton
                                                                     attached to the back plate inside the cavity. The height of the image
                                                                     sensor device is about equal to or less than the height of the cavity.
                                                                     Electrical signal connections are formed between the image sensor
                                                                     device and the printed circuit carrier. A cap is attached directly to the
                                                                     carrier by a flowable adhesive layer, to seal off the cavity. Other
                                                                     embodiments are also described and claimed.
INTEGRATION OF     US 8,611,095 B2     Sep. 22, 2011   Dec. 17, 2013 A proximity sensor for use in a portable computing device is described.     Kelvin Kwong;             SAMNDCA30012601
SENSORS AND                                                          In particular various embodiments of a proximity sensor which fit in an     Richard Hung Minh
OTHER ELECTRONIC                                                     extremely small portion of a cellular phone, and accurately determine       Dinh; Daniel William
COMPONENTS                                                           the presence of a user's head in close proximity to a surface of the        Jarvis; Brian Richards
                                                                     cellular phone.                                                             Land; Anant Rai




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       Title      Patent Number       Filing Date      Issue Date                                    Abstract                                     Inventor Name(s)        Starting Bates Number
CONNECTOR         US 8,636,526 B2     Oct. 15, 2010   Jan. 28, 2014 Circuits, methods, and apparatus that provide connector receptacles          Joshua Funamura; Min      SAMNDCA30012619
RECEPTACLES                                                         having a smaller size. One example provides this smaller size by             Chul Kim
HAVING CONTACT                                                      decreasing the depth of the connector receptacle. Contacts in the
PROTECTION                                                          connector receptacle may be protected from damage due to improper
DURING IMPROPER                                                     insertion of a second electronic device or connection to a second
INSERTION OF A                                                      electronic device. This protection may be achieved in various ways. In
CARD                                                                some examples, one or more components or one or more contacts may
                                                                    be used to block the improper insertion of a second electronic device or
                                                                    connection to a second electronic device. In other examples, one or
                                                                    more contacts may avoid damage by being located outside of an
                                                                    insertion path until a second electronic device or connection to a
                                                                    second electronic device is inserted. In other examples, instead of
                                                                    blocking or avoiding an improper insertion, the contacts may avoid
                                                                    damage by bending out of the way.
MULTIBAND         US 8,665,164 B2     Nov. 19, 2008   Mar. 4, 2014 An electronic device such as a portable electronic device may have an         Robert J. Hill; Robert   SAMNDCA30012628
HANDHELD                                                           antenna and associated wireless communications circuitry. The antenna         W. Schlub; Ruben
ELECTRONIC                                                         may be a slot antenna having a dielectric slot opening. The slot opening      Caballero
DEVICE SLOT                                                        may have a shape such as a U shape or an L shape in which elongated
ANTENNA                                                            regions of the slot run parallel to the edges of the portable electronic
                                                                   device. The portable electronic device may have a housing with
                                                                   conductive sidewalls. The conductive sidewalls may help define the
                                                                   shape of the slot. Antenna feed arrangements may be used to feed the
                                                                   slot antenna in a way that excites harmonic frequencies and that
                                                                   supports multiband operation while being shielded from proximity
                                                                   effects.
INTEGRATED        US 8,684,613 B2     Jan. 10, 2012   Apr. 20, 2014 Apparatus, systems and methods for camera integration with cover             Douglas J. Weber         SAMNDCA30012661
CAMERA WINDOW                                                       glass and for processing cover glass to provide a camera window for an
                                                                    electronic device are disclosed. A camera window can be integrated
                                                                    into the cover glass. The apparatus, systems and methods are especially
                                                                    suitable for cover glasses, or displays (e.g., LCD displays), assembled
                                                                    in small form factor electronic devices such as handheld electronic
                                                                    devices (e.g., mobile phones, media players, personal digital assistants,
                                                                    remote controls, etc.). The apparatus, systems and methods can also be
                                                                    used for cover glasses or displays for other relatively larger form factor
                                                                    electronic devices (e.g., portable computers, tablet computers, displays,
                                                                    monitors, televisions, etc.).




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       Title       Patent Number       Filing Date     Issue Date                                   Abstract                                       Inventor Name(s)   Starting Bates Number
INTEGRATED         US 8,693,877 B2     Oct. 12, 2007   Apr. 8, 2014 Apparatuses and methods to detect and emit various infrared (IR) and          John Tam; David      SAMNDCA30012682
INFRARED                                                            ambient light signals using an integrated sensor and emitter device.          Tupman; Steve
RECEIVER AND                                                        Embodiments include a sensor to sense proximity, to sense IR data             Hotelling
EMITTER FOR                                                         signals, and to sense ambient light; and an emitter of an IR proximity
MULTIPLE                                                            signal. The sensor detects the IR proximity signal from the emitter
FUNCTIONALITIES                                                     when the apparatus is sensing proximity, detects IR data signals when
                                                                    the apparatus is detecting IR data, and detects ambient light when the
                                                                    apparatus sensing light. The IR data signals may include IR remote
                                                                    control (IR RC) and/or IR data association (IRDA) signals. The signals
                                                                    may be detected simultaneously and may be in different frequency
                                                                    bands. According to embodiments, such an emitter may also emit an IR
                                                                    data signals, such as IR RC and/or IRDA signals. These signals may be
                                                                    emitted simultaneously and may be in different frequency bands.
BATTERY POUCH      US 8,709,645 B2      Jul. 1, 2011   Apr. 29, 2014 A multi layer laminate sheet suitable to form a battery pouch is             Loren L. Roy        SAMNDCA30012716
SHEET EDGE                                                           described. The laminate sheet includes a core metal layer, a sealant
INSULATION                                                           layer, and an insulating layer. The sealant layer is bonded to one
                                                                     surface of the core metal layer, and the insulating layer is bonded to the
                                                                     other surface of the core metal layer. The insulating layer has a width
                                                                     that is greater than the width of the core metal layer, such that the
                                                                     insulating layer extends past two edges of the core metal layer. When
                                                                     the pouch is formed by folding the laminate sheet, the insulating layer
                                                                     protects the edges of the core metal layer of the laminate sheet from
                                                                     being exposed around the edges or sides of the pouch. Other
                                                                     embodiments are also described and claimed.
PROXIMITY SENSOR   US 8,712,485 B2     Nov. 19, 2010 Apr. 29, 2014 A radiation passing layer has a top surface and a bottom surface below         Ching Yu John Tam   SAMNDCA30012726
ARRANGEMENT IN A                                                   which a proximity sensor is positioned. A radiation shield is between
MOBILE DEVICE                                                      the emitter and the detector, and extends to the bottom of the radiation
                                                                   passing layer. A radiation absorber being a separate piece and of a
                                                                   different material than the shield is positioned to provide a radiation
                                                                   seal between the top surface of the shield and the bottom surface of the
                                                                   radiation passing layer. Other embodiments are also described and
                                                                   claimed.




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       Title       Patent Number        Filing Date    Issue Date                                   Abstract                                          Inventor Name(s)      Starting Bates Number
PERSONAL MEDIA     US 8,718,620 B2     Nov. 13, 2006   May 6, 2014 Systems and methods are provided for personal media devices having                Michael Rosenblatt      SAMNDCA30012735
DEVICES WITH                                                       the ability to communicate wirelessly, and in particular, communicate
WIRELESS                                                           wirelessly using a short-range communications protocol (e.g., Wi-Fi
COMMUNICATION                                                      and Bluetooth). Such communication provides users of personal media
                                                                   devices with access to several Wi-Fi oriented applications. For
                                                                   example, in one embodiment a personal media device may wirelessly
                                                                   download subscription assets (e.g., podcast) as they become available.
                                                                   In another embodiment, content specific or local to a merchant may be
                                                                   provided to personal media devices that are in wireless communication
                                                                   with a wireless router affiliated with the merchant. For example, if the
                                                                   merchant is a restaurant, the merchant may provide a menu to the
                                                                   personal media device and the user may place an order on his or her
                                                                   media device by selecting items on the menu.
MICROPHONE WITH    US 8,724,841 B2     Oct. 25, 2012   May 13, 2014 A portable electronic device having an outer case having a substantially         Andrew P. Bright;      SAMNDCA30012765
ACOUSTIC MESH TO                                                    planar face in which a microphone associated acoustic port is formed.            Christopher R. Wilk;
PROTECT AGAINST                                                     The device also has a micro-electromechanical system (MEMS)                      Jae Han Lee; Ruchir
SUDDEN ACOUSTIC                                                     microphone positioned within the outer case, the MEMS microphone                 M. Dave; Scott P.
SHOCK                                                               having a diaphragm facing the microphone associated acoustic port. An            Porter; Sawyer Isaac
                                                                    acoustic mesh is positioned between the front face of the outer case and         Cohen
                                                                    the diaphragm, the acoustic mesh having a non-linear acoustic
                                                                    resistance so as to minimize an effect of an incoming air burst on the
                                                                    diaphragm. Other embodiments are also described and claimed.
PARTIALLY LIT      US 8,730,372 B2     Sep. 23, 2011   May 20, 2014 An image sensing system for an electronic device. The image sensing              Teodor Dabov           SAMNDCA30012781
SENSOR                                                              system includes a lens and an image sensor. The image sensor includes
                                                                    a indirectly lit area of pixels and a directly lit area of pixels. The lens is
                                                                    in optical communication with the directly lit area of pixels.




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                                                                            Apple Utility Patents

       Title     Patent Number        Filing Date     Issue Date                                    Abstract                                  Inventor Name(s)      Starting Bates Number
THERMAL SPRAY    US 8,738,099 B2     Apr. 20, 2012   May 27, 2014 Electronic devices and other apparatuses adapted to receive                Douglas Weber; Naoto    SAMNDCA30012796
COATING FOR                                                       electromagnetic wave communications are disclosed. An outer housing        Matsuyuki; David A.
SEAMLESS AND                                                      encloses various device components, including at least an internal         Pakula; Evans Hankey
RADIO-                                                            antenna located fully therewithin and adapted to receive/send
TRANSPARENT                                                       communications from/to an outside source via RF or other
ELECTRONIC                                                        electromagnetic waves. A ceramic coating can be a thermal spray
DEVICE HOUSING                                                    coating that covers at least a portion of the outer surface proximate to
                                                                  the internal antenna, and can be "RF transparent"-adapted to allow
                                                                  communications to/from the internal antenna via electromagnetic
                                                                  waves. The outer housing can be plastic, metal or a combination
                                                                  thereof. For metal or other non-RF transparent housings, an RF-
                                                                  transparent insert can be fitted into a window in the housing to permit
                                                                  communications to the internal antenna. The ceramic coating covers
                                                                  some or all of the metal, plastic and/or insert that comprise the outer
                                                                  housing and surface for a final aesthetic finish to the device.
SYSTEMS AND      US 8,772,650 B2     Jan. 10, 2011    Jul. 8, 2014   This is directed to systems and methods for coupling sections of an      Nicholas Merz; Dan    SAMNDCA30012808
METHODS FOR                                                          electronic device together. Sections of an electronic device can be      Jarvis
COUPLING                                                             coupled together via "knuckles." The particular shape and structure of
SECTIONS OF AN                                                       the knuckles can be based on various design considerations. For
ELECTRONIC                                                           example, in some embodiments each section can function as an
DEVICE                                                               individual antenna. In this case, the knuckles can be designed in order
                                                                     to provide electrical isolation between the sections, thus allowing
                                                                     proper operation of the antennas. For example, the knuckles can be
                                                                     formed from a dielectric material, etc. As another design example, the
                                                                     knuckles can be designed in order to provide increased strength in areas
                                                                     of high strain, and/or to counteract torsional twisting in areas of high
                                                                     impact. As yet another design example, the knuckle can be designed in
                                                                     a manner that is aesthetically pleasing or which otherwise meets
                                                                     cosmetic requirements.




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                                                                               Apple Utility Patents

       Title       Patent Number       Filing Date      Issue Date                                      Abstract                                    Inventor Name(s)       Starting Bates Number
AUDIO JACK THAT    US 8,772,654 B2     Jun. 9, 2012     Jul. 8, 2014   Circuits, methods, and apparatus that may provide for reliable detection    George Tziviskos;        SAMNDCA30012830
ENABLES                                                                of electrical and optical audio plugs. One example may detect an            Zheng Gao
ELECTRICAL AND                                                         optical audio plug by employing one or more mechanical detect
OPTICAL                                                                switches. These switches may include a first contacting portion and a
CONNECTIVITY                                                           second contacting portion that are separated from each other when an
                                                                       audio plug is inserted into the audio jack. The second contacting
                                                                       portion may include one or more arms to contact a surface portion of
                                                                       the first contacting portion. The first contacting portion and the second
                                                                       contacting portion may be biased such that they tend to stay in contact
                                                                       with each other as the first contacting portion begins to be deflected by
                                                                       the insertion of an audio plug, thereby wiping dust or debris from
                                                                       between the first contacting portion and the second contacting portion.
METHODS AND        US 8,780,060 B2     Nov. 2, 2010    Jul. 15, 2014 Haptic systems are disclosed which may provide increased resolution     Russell Maschmeyer;           SAMNDCA30012845
SYSTEMS FOR                                                          in tactile feedback. A tiered haptic system may be formed by stacking   Gordon Cameron
PROVIDING HAPTIC                                                     of haptic elements. One or more arrays of shape change elements such
CONTROL                                                              as, for example, piezoelectric elements may be used to actuate a screen
                                                                     surface. Arrays may also be used to sense tactile interactions and
                                                                     stimuli on a screen surface. An embedded haptic system may be formed
                                                                     by inserting haptic elements into a contoured elastic sheet. The
                                                                     embedded haptic system may provide tactile interactions to a user. In
                                                                     some embodiments, both tiered and embedded haptic arrangements
                                                                     may be used.
AUDIO PORT         US 8,804,993 B2     Jun. 17, 2011   Aug. 12, 2014 A portable electronic device that provides compact configurations for         Ashutosh Y. Shukla;     SAMNDCA30012870
CONFIGURATION                                                        audio elements are disclosed. The audio elements can be drivers (e.g.,        Nicholas G. L. Merz;
FOR COMPACT                                                          speakers) or receivers (e.g., microphones). In one embodiment, a              Tang Yew Tan; Pinida
ELECTRONIC                                                           molded acoustic chamber can be formed to assist in directing audio            Jan Moolsintong; Erik
DEVICES                                                              sound between an opening an outer housing and an internal flexible            Wang
                                                                     electronic substrate. The audio element can be mounted on or coupled
                                                                     to the flexible electrical substrate over an opening therein that allows
                                                                     allow audio sound to pass there through. The molded acoustic chamber
                                                                     can also be formed such that it includes a barrier, such as a mesh
                                                                     barrier, so that undesired foreign substances can be blocked from entry
                                                                     or further entry into the audio chamber. The molded acoustic chamber
                                                                     can also be formed such that it includes one or more acoustic seals that
                                                                     can be used to provide an acoustic seal between the molded acoustic
                                                                     chamber and the opening in the outer housing.




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       Title       Patent Number       Filing Date      Issue Date                                     Abstract                                    Inventor Name(s)         Starting Bates Number
BUTTON ASSEMBLY    US 8,809,708 B2     Apr. 2, 2013    Aug. 19, 2014 A process is provided for characterizing a tactile response of a first       Benjamin M.                SAMNDCA30012896
WITH DRIVE                                                           mechanical actuator (e.g., button) based on a back off distance. The         Rappoport; Kevin
ASSEMBLY                                                             first mechanical actuator may include a plunger, a dome-shaped               Gibbs; Patrick Kessler;
                                                                     flexible membrane, and an electrical contact, all aligned with each          Derek W.Wright; Alex
                                                                     other so that a contact signal is generated when the flexible membrane       Chun Lap Yeung
                                                                     touches the contact. The plunger can be moved a first distance towards
                                                                     the contact until the contact signal is generated at a contact point. Then
                                                                     the plunger can be backed off a second distance from the contact point.
                                                                     This second distance may be called the "back off distance". The
                                                                     particular feel of the first mechanical actuator can then be correlated to
                                                                     a particular back off distance. This process can be repeated a number of
                                                                     times to classify a number of different "feels" for the first mechanical
                                                                     actuator based on a number of different back off distances.
ELECTRONIC         US 8,818,450 B2     Feb. 26, 2013   Aug. 26, 2014 An electronic device such as a portable electronic device may have an        Ruben Caballero;          SAMNDCA30012922
DEVICE WITH                                                          antenna and associated wireless communications circuitry. A sensor           Robert W. Schlub
PROXIMITY-BASED                                                      such as a proximity sensor may be used to detect when the electronic
RADIO POWER                                                          device is in close proximity to a user's head. Control circuitry within
CONTROL                                                              the electronic device may be used to adjust radio-frequency signal
                                                                     transmit power levels. When it is determined that the electronic device
                                                                     is within a given distance from the user's head the radio-frequency
                                                                     signal transmit power level may be reduced. When it is determined that
                                                                     the electronic device is not within the given distance from the user's
                                                                     head, proximity-based limits on the radio-frequency signal transmit
                                                                     power level may be removed. Data may be gathered from a touch
                                                                     sensor, accelerometer, ambient light sensor and other sources for use in
                                                                     determining how to adjust the transmit power level.
INTEGRATED         US 8,829,414 B2     Aug. 26, 2013   Sep. 9, 2014 Apparatuses and methods to sense proximity and to detect light. In one        Anthony M. Fadell;        SAMNDCA30012940
PROXIMITY SENSOR                                                    embodiment, an apparatus includes an emitter of electromagnetic               Achim Pantfoerder
AND LIGHT SENSOR                                                    radiation and a detector of electromagnetic radiation; the detector has a
                                                                    sensor to detect electromagnetic radiation from the emitter when
                                                                    sensing proximity, and to detect electromagnetic radiation from a
                                                                    source other than the emitter when sensing visible light. The emitter
                                                                    may be disabled at least temporarily to allow the detector to detect
                                                                    electromagnetic radiation from a source other than the emitter, such as
                                                                    ambient light. In one implementation, the ambient light is measured by
                                                                    measuring infrared wavelengths. Also a fence having a non-IR
                                                                    transmissive material disposed between the emitter and the detector to
                                                                    remove electromagnetic radiation emitted by the emitter. Other
                                                                    apparatuses and methods and data processing systems and machine
                                                                    readable media are also described.




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                                                                              Apple Utility Patents

       Title       Patent Number        Filing Date     Issue Date                                   Abstract                                    Inventor Name(s)       Starting Bates Number
PERSONAL MEDIA     US 8,836,502 B2     Dec. 28, 2007   Sep. 16, 2014 Systems and methods are provided tor a media device that controls          Michael Culbert;         SAMNDCA30012985
DEVICE INPUT AND                                                     input and output characteristics based on one or more associated           David John Tupman;
OUTPUT CONTROL                                                       conditions.                                                                Daniel Shawn Keen;
BASED ON                                                                                                                                        Anthony Joseph
ASSOCIATED                                                                                                                                      Guetta; Ryan Jeffrey
CONDITIONS                                                                                                                                      DuBois; Victor M.
                                                                                                                                                Tiscareno; David
                                                                                                                                                Harrington; Stephen
                                                                                                                                                John Chick; Jahan
                                                                                                                                                Minoo; Jay Steven
                                                                                                                                                Laefer; Kevin Saul;
                                                                                                                                                Scott Forstall
ELECTRO-           US 8,853,574 B2      Jul. 3, 2012   Oct. 7, 2014   Electromechanical slide switches are provided. The electromechanical      Miguel C. Christophy;   SAMNDCA30013011
MECHANICAL SLIDE                                                      slide switches can include conductive components that are configured      Daniel W. Jarvis;
SWITCH                                                                to change position relative to one another in response to a mechanical    Richard H. Dinh
                                                                      input. The electromechanical slide switch can include a number of
                                                                      cooperating intrusion barriers that combine to prevent intrusion of
                                                                      external agents, such as water or dust.
SHIM SLEEVE FOR    US 8,859,920 B2     Oct. 25, 2011   Oct. 14, 2014 A button assembly having a shim for a pivot button. One embodiment         Tyson Manullang;        SAMNDCA30013021
PIVOTING BUTTONS                                                     may take the form of a button assembly with a stem and a receiving         Teodor Dabov
                                                                     portion pivotally coupled to the stem. The stem is positioned within an
                                                                     aperture of the receiving portion, with the aperture providing a gap
                                                                     between the receiving portion and the stem. A shim sleeve having non-
                                                                     uniform thickness is coupled over the stem and positioned between the
                                                                     receiving portion and the stem. The shim sleeve is configured to reduce
                                                                     the gap between the receiving portion and the stem.
COUPLING           US 8,862,182 B2     Aug. 31, 2012   Oct. 14, 2014 A portable electronic device comprises an electromechanical module         Ashutosh Y. Shukla;     SAMNDCA30013043
REDUCTION FOR                                                        having an actuator for positioning a mechanical element between first      David A. Pakula;
ELECTRO-                                                             and second positions, and a controller coupled to the electromechanical    Sawyer I. Cohen
MECHANICAL                                                           module. The controller is configured to detect a mechanical event
ACTUATOR                                                             coupling to the electromechanical module, select an actuation signal to
                                                                     position the mechanical element in a safe position between the first and
                                                                     second positions, and transmit the selected signal. such that the
                                                                     mechanical element is positioned in the safe position during the event.




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                                                                            Apple Utility Patents

       Title     Patent Number       Filing Date      Issue Date                                  Abstract                                      Inventor Name(s)        Starting Bates Number
MULTI-PART       US 8,879,272 B2     Dec. 6, 2011    Nov. 4, 2014 Multi-part substrate arrangements that yield low profile configurations      Kyle H. Yeates; James     SAMNDCA30013057
SUBSTRATE                                                         are disclosed. One aspect pertains to portable electronic devices are        Bilanski; Dennis Pyper
ASSEMBLIES FOR                                                    able to have low profiles through use of multi-part substrate
LOW PROFILE                                                       arrangements. Another aspect pertains to methods for assembling two
PORTABLE                                                          or more separate substrates into a multi-part substrate. By use of multi-
ELECTRONIC                                                        part substrate arrangements according to the invention, portable
DEVICES                                                           electronic devices are able to be thinner and more compact.
METHOD FOR       US 8,893,373 B2     Aug. 24, 2012 Nov. 25, 2014 An assembly method suitable for assembling a portable electronic              Fletcher R. Rothkopf;    SAMNDCA30013074
ASSEMBLING A                                                     device having a housing with an undercut portion is disclosed. The            Phillip M. Hobson;
PORTABLE                                                         method includes aligning a non-display portion of a display assembly          Christopher M. Werner
ELECTRONIC                                                       with the undercut portion of the housing, the display assembly
DEVICE                                                           comprising a display, a protective top layer covering a top side of the
                                                                 display portion and the non-display portion and a battery module
                                                                 attached to an underside of the display assembly, electrically
                                                                 connecting the battery to a circuit previously installed in the housing,
                                                                 angling the display assembly in relation to a front opening of the
                                                                 housing in a tilted configuration such that the non-display portion is
                                                                 partially inserted into the undercut portion of the housing, and in the
                                                                 tilted configuration, performing a preinstall functional test on the
                                                                 display and fully inserting the display assembly into the housing only
                                                                 when the pre-install functional test is successfully completed.
ELECTRONIC       US 8,923,693 B2     Jun. 30, 2010   Dec. 30, 2014 Embodiments disclosed therein generally pertain to selectively              Kyle H. Yeates           SAMNDCA30013089
DEVICE HAVING                                                      strengthening glass. More particularly, techniques are described for
SELECTIVELY                                                        selectively strengthening cover glass, which tends to be thin, for
STRENGTHENED                                                       electronic devices. namely, portable electronic devices. In certain
COVER GLASS                                                        embodiments, selectively strengthening glass, such as cover glass, can
                                                                   be used to provide optical barriers (or channels) internal to the glass.
                                                                   The electronic devices can also provide for camera integration behind
                                                                   the cover glass.
SHIELDING FOR    US 8,944,850 B2     Oct. 22, 2012    Feb. 3, 2015 Connectors having improved signal paths. An illustrative embodiment         George Marc Simmel;      SAMNDCA30013102
EDGE CONNECTOR                                                     of the present invention may provide a connector having a pair of first     Joshua Funamura
                                                                   contacts adjacent to each other. Two second contacts may be located on
                                                                   each side of and adjacent to the pair of first contacts. The second
                                                                   contacts may include a front beam portion that contacts a front shield
                                                                   located along a front face of the connector. The front shield may in turn
                                                                   connect to a top shield that at least partially covers a top, sides, and
                                                                   back of the connector.




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       Title       Patent Number       Filing Date      Issue Date                                    Abstract                                     Inventor Name(s)       Starting Bates Number
ANTENNA            US 8,952,860 B2     Mar. 1, 2011    Feb. 10, 2015 Antennas are provided for electronic devices such as portable                Qingxiang Li; Robert     SAMNDCA30013111
STRUCTURES WITH                                                      computers. An electronic device may have a housing in which an               W. Schlub; Jonathan
CARRIERS AND                                                         antenna is mounted. The housing may be formed of conductive                  Hayes; Enrique Ayala
SHIELDS                                                              materials. A dielectric window may be mounted in the housing to allow        Vazquez; Yingmeng
                                                                     radio-frequency signals to be transmitted from the antenna and to allow      Wu
                                                                     the antenna to receive radiofrequency signals. A proximity sensor
                                                                     adjacent to the dielectric window may be used in detecting external
                                                                     objects. The antenna may have an antenna resonating element that is
                                                                     mounted against an inner surface of a display cover glass layer. The
                                                                     antenna resonating element may be mounted to an upper surface of a
                                                                     plastic carrier. An electromagnetic shield may be mounted on a lower
                                                                     surface of the plastic carrier above the proximity sensor.
DEVICE, METHOD,    US 8,957,865 B2     Sep. 25, 2009   Feb. 17, 2015 In some embodiments, an electronic device with a display and a touch-        Avi E. Cieplinski;      SAMNDCA30013125
AND GRAPHICAL                                                        sensitive surface displays a user interface object. The device detects a     Timothy David
USER INTERFACE                                                       first contact and a second contact concurrently on the touch-sensitive       Cherna; Jeffrey Traer
FOR MANIPULATING                                                     surface. The device determines which contact of the first contact and        Bernstein; B. Michael
A USER INTERFACE                                                     the second contact is a topmost contact, a bottommost contact, a             Victor
OBJECT                                                               leftmost contact, and a rightmost contact on the touch-sensitive surface.
                                                                     While continuing to detect the first contact and the second contact, the
                                                                     device detects movement of the first contact across the touch-sensitive
                                                                     surface, and concurrently moves two edges of the user interface object
                                                                     that correspond to the first contact in accordance with the detected
                                                                     movement of the first contact, including horizontally moving one of the
                                                                     two edges and vertically moving the other of the two edges.
CAM-ACTION ANTI-   US 8,963,033 B2     Sep. 9, 2011    Feb. 24, 2015 A cam-action anti-rolling mechanism for buttons is described herein.         Bryan Patrick Kiple;    SAMNDCA30013210
ROLL BUTTON                                                          One embodiment may take the form of a button having a body with a            Jared M. Kole;
                                                                     slot extending therethrough. The slot has a normal orientation to a          Michael Wittenberg
                                                                     direction of motion for the button. The button also includes a cam bar
                                                                     having a first portion extending through the slot and a second portion
                                                                     offset from and parallel to the first portion. The cam bar is coupled in a
                                                                     slip fit manner within the slot to the body and the second portion
                                                                     provides a rotational axis for the cam bar. A fixture coupled to the
                                                                     second portion of the cam bar is provided to allow for rotation of the
                                                                     cam bar.
BATTERY            US 8,989,821 B2     Aug. 31, 2011 Mar. 24, 2015 Electronic devices having improved battery configurations, and more            Benjamin John Pope;     SAMNDCA30013240
CONFIGURATIONS                                                     specifically configurations reducing overall space required for a battery      Daniel William Jarvis
FOR ELECTRONIC                                                     and attendant electronics, as well as providing restraining mechanisms
DEVICES                                                            to prevent a battery from impacting these electronics.




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                                                                              Apple Utility Patents

       Title       Patent Number        Filing Date   Issue Date                                    Abstract                                     Inventor Name(s)   Starting Bates Number
PROXIMITY SENSOR   US 8,996,082 B2     Nov. 19, 2010 Mar. 31, 2015 A radiation passing layer has a top surface and a bottom surface below       Ching Yu John Tam    SAMNDCA30013253
ARRANGEMENT                                                        which a proximity sensor is positioned. A visible light opaque layer
HAVING A COLD                                                      covers the bottom surface of the radiation passing layer except for an
MIRROR IN A                                                        opening therein that allows radiation from the emitter to pass, and
MOBILE DEVICE                                                      scattered radiation to pass to the detector. A radiation shield is between
                                                                   the emitter and the detector, and extends to the bottom of the radiation
                                                                   passing layer. A cold mirror is between the shield and the bottom
                                                                   surface of the radiation passing layer, covering the opening in the
                                                                   opaque layer. A radiation absorber being a separate piece and a
                                                                   different material than the shield provides a radiation seal between the
                                                                   top surface of the shield and the bottom surface of the cold mirror.
                                                                   Other embodiments are also described and claimed.
COMPOSITE          US 9,011,623 B2     Mar. 3, 2011    Apr. 21, 2015 A composite enclosure for housing electronic devices, and methods          Kevin M. Kenney;    SAMNDCA30013263
ENCLOSURE                                                            related thereto, are provided. In particular, in some embodiments, a       Peter N. Russell-
                                                                     method of manufacturing a composite enclosure for housing electronic       Clarke
                                                                     devices includes winding composite material about a mandrel and
                                                                     curing the composite material to create a composite hoop. A panel is
                                                                     formed in a separate process that includes stacking a plurality of
                                                                     composite layers in a mold and curing the composite layers to create a
                                                                     composite panel. The composite hoop and the composite panel are
                                                                     bonded together to form the composite enclosure.
METHOD AND         US 9,020,177 B2     Sep. 30, 2011   Apr. 28, 2015 Apparatus, systems and methods for providing a speaker with a              Sawyer I. Cohen     SAMNDCA30013284
APPARATUS FOR                                                        backvolume that can be used in a portable electronic device are
CONSTRUCTION OF                                                      disclosed. The backvolume can be arranged to fit into a small,
AN ACOUSTIC                                                          irregularly shaped space, thereby efficiently utilizing available space.
MODULE                                                               In one embodiment, the backvolume can have a reduced wall thickness.
DYNAMICALLY        US 9,024,823 B2     May 27, 2011    May 5, 2011 Electronic devices may be provided that contain wireless                     Peter Bevelacqua    SAMNDCA30013300
ADJUSTABLE                                                           communications circuitry. The wireless communications circuitry may
ANTENNA                                                              include radio-frequency transceiver circuitry coupled to an adjustable
SUPPORTING                                                           antenna. The adjustable antenna may contain conductive antenna
MULTIPLE ANTENNA                                                     structure such as conductive electronic device housing structures.
MODES                                                                Electrical components such as switches and resonant circuits may be
                                                                     used in configuring the antenna to operate in two or more different
                                                                     antenna modes at different respective communications bands. Control
                                                                     circuitry may be used in controlling the switches. The antenna may be
                                                                     configured to operate as an inverted-F antenna in one mode of
                                                                     operation and a slot antenna in a second mode of operation.




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       Title        Patent Number        Filing Date     Issue Date                                  Abstract                                        Inventor Name(s)       Starting Bates Number
TECHNIQUES FOR      US 9,033,739 B2     Sep. 10, 2012   May 19, 2015 An electronic device including a connector. The connector includes a           Jason S. Sloey           SAMNDCA30013323
SHIELDING                                                            housing defining a cavity for receiving a mating connector. The
CONNECTORS THAT                                                      housing includes a contact support member. The connector also
ALLOW FOR                                                            includes contacts supported by the contact support member, the
CONFORMAL                                                            contacts including protruding portions that protrude outside of the
COATING AGAINST                                                      cavity. The connector may also include a shielding element disposed
CORROSION                                                            over the protruding portion of at least some of the contacts. A moisture
                                                                     sealant may be disposed within a gap located between the contacts and
                                                                     the shielding element. In one embodiment, a cap may be provided
                                                                     between the housing and the shielding. The cap and the housing may
                                                                     each include an aperture for viewing a moisture indicator, and at least
                                                                     one of the cap and the housing may include cutouts for holding a
                                                                     transparent element.
PORTABLE            US 9,049,302 B2     Jun. 28, 2007   Jun. 2, 2015   A computer-implemented method, performed at a portable                       Scott Forstall; Scott   SAMNDCA30013346
MULTIFUNCTION                                                          multifunction device with a display, includes: receiving a plurality of      Herz; Freddy Allen
DEVICE, METHOD,                                                        communications via a plurality of communication modalities while the         Anzures; Greg
AND GRAPHICAL                                                          device is in a locked state; and detecting an unlock interaction by the      Christie; Imran
USER INTERFACE                                                         user with the device. In response to detecting the unlock interaction, the   Chaudhri; Marcel Van
FOR MANAGING                                                           method further includes unlocking the device and presenting a                Os
COMMUNICATIONS                                                         communication, or information about the communication, in the
RECEIVED WHILE IN                                                      plurality of communications that was received while the device was in
A LOCKED STATE                                                         the locked state. The presented communication or information is
                                                                       presented in accordance with the corresponding communication
                                                                       modality.
INTERNAL FRAME      US 9,049,801 B2     Jan. 31, 2013   Jun. 2, 2015   A thin portable electronic device with a display is described. The           Fletcher R. Rothkopf;   SAMNDCA30013378
OPTIMIZED FOR                                                          components of the electronic device can be arranged in stacked layers        Phillip M. Hobson;
STIFFNESS AND                                                          within an external housing where each of the stacked layers is located       Adam Mittleman;
HEAT TRANSFER                                                          at a different height relative to the thickness of the device. One of the    Anna-Katrina
                                                                       stacked lavers can be internal metal frame. The internal metal frame         Shedletsky
                                                                       can be configured to act as a heat spreader for heat generating
                                                                       components located in layers adjacent to the internal frame. Further, the
                                                                       internal metal frame can be configured to add to the overall structural
                                                                       stiffness of the device. In addition, the internal metal frame can be
                                                                       configured to provide attachment points for device components, such
                                                                       as the display, so that the device components can be coupled to the
                                                                       external housing via the internal metal frame.




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       Title        Patent Number        Filing Date     Issue Date                                     Abstract                                   Inventor Name(s)       Starting Bates Number
SYSTEMS AND         US 9,084,357 B2     Sep. 11, 2012   Jul. 14, 2015 Systems and methods for routing cables in an electronic device are          Anna-Katrina             SAMNDCA30013395
METHODS FOR                                                           provided. In some embodiments, the electronic device may include a          Shedletsky;
ROUTING CABLES IN                                                     touch sensor having a number of traces, a display component, and a          Christopher M.
AN ELECTRONIC                                                         mechanical button, each of which may be coupled to a circuit board via      Werner; Colin M. Ely;
DEVICE                                                                a single flexible circuit cable. This may save valuable space within the    Fletcher R. Rothkopf;
                                                                      electronic device.                                                          Ming Leong; Phillip
                                                                                                                                                  Michael Hobson
ION IMPLANT         US 9,092,187 B2     Jan. 8, 2013    Jul. 28, 2015 An aluminum oxide ceramic is formed into a sapphire component for           Kelvin Kwong            SAMNDCA30013416
INDICIA FOR COVER                                                     an electronic device. Indicia are embedded into at least one major
GLASS OR DISPLAY                                                      surface of the component, for example by ion implantation, where ions
COMPONENT                                                             are fixed into a subsurface pattern layer. The subsurface pattern layer
                                                                      defines the indicia by altering an optical or chromatic property of the
                                                                      aluminum oxide material, so that the indicia are visible from an
                                                                      external surface of the component.
ANTI-ROTATIONAL     US 9,099,264 B2     Sep. 7, 2012    Aug. 4, 2015 Systems and methods for providing input component assemblies with            Anna-Katrina            SAMNDCA30013429
BUTTONS                                                              anti-rotational buttons in electronic devices are provided. The input        Shedletsky; Colin M.
                                                                     component assembly includes a switch, a button positioned over the           Ely; Phillip Michael
                                                                     switch, where the button is operative to close at least one circuit of the   Hobson
                                                                     switch when the button is depressed towards the switch, and at least
                                                                     one pin positioned underneath the button, where the at least one pin is
                                                                     operative to engage with a surface to assist in preventing rotation of the
                                                                     button, when the button is depressed towards the switch.
FORMATION OF        US 9,109,093 B2     Mar. 3, 2011    Aug. 18, 2015 Materials, apparatus and methods of forming structural components for Michael K. Pilliod;           SAMNDCA30013443
STRUCTURAL                                                            consumer electronics devices are described. In one embodiment,          Paul Choiniere
COMPONENTS                                                            ceramic fibers, such as alumina, are mixed with a thermoplastic, such
USING CERAMIC                                                         as nylon, to form a composite material usable in an injection molding
FIBERS                                                                process. The volume percent of ceramic fibers used with the
                                                                      thermoplastic can be selected to improve the strength properties of the
                                                                      composite material. Pigments can be added to the composite material to
                                                                      affect its aesthetic appeal. In one embodiment, the composite material
                                                                      including the ceramic fibers can be used to form frame components
                                                                      usable in a consumer electronic device. The frame components can be
                                                                      load bearing structures that are externally visible or used within the
                                                                      interior of the device.




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       Title        Patent Number        Filing Date     Issue Date                                    Abstract                                      Inventor Name(s)     Starting Bates Number
MULTI-MODE          US 9,135,188 B2     Nov. 11, 2014   Sep. 15, 2015 An adapter can be used to connect a portable electronic device to an          Gregg Golembeski;      SAMNDCA30013457
ADAPTER                                                               accessory in instances where the portable electronic device and the           Jason J. Yew; Shyam
                                                                      accessory have incompatible connectors. The adapter provides two              S. Toprani
                                                                      connectors, one compatible with the portable electronic device and the
                                                                      other compatible with the accessory. The adapter has several modes of
                                                                      operation. The portable electronic device selects the appropriate mode
                                                                      of operation for the adapter once it receives information about the
                                                                      accessory connected to the adapter. The portable electronic device
                                                                      instructs the adapter to switch to the selected mode and in response the
                                                                      adapter configures its internal circuitry to enable the selected mode.
                                                                      The portable electronic device can then communicate with the
                                                                      accessory via the adapter. The presence of the adapter can be
                                                                      transparent to the accessory.
BATTERY CELL        US 9,136,509 B2     May 27, 2011    Sep. 15, 2015 A battery includes a battery cell having a pair of cell electrodes that are   Ching Yu John Tam;    SAMNDCA30013487
WITH AN                                                               encased in a laminated pouch. The laminated pouch has a conductive            Craig C. Birrell
INTEGRATED POUCH                                                      moisture barrier layer that is sandwiched between respective
METAL FOIL                                                            electrically insulating layers. Several terminals are integrated with the
TERMINAL                                                              pouch, including a first terminal and a second terminal that are directly
                                                                      connected to the first and second cell electrodes, respectively, and a
                                                                      third terminal that is directly connected to the conductive moister
                                                                      barrier layer. Other embodiments are also described and claimed.
SYSTEMS AND         US 9,146,588 B2     Sep. 30, 2012   Sep. 29, 2015 Systems and methods for securing components of an electronic device           Jared M. Kole;        SAMNDCA30013501
METHODS FOR                                                           are provided. In some embodiments, the electronic device may include          Michael Benjamin
SECURING                                                              a housing having an opening, a cover resting on a portion of the              Wittenberg; Shayan
COMPONENTS OF AN                                                      electronic device in a first cover position within the opening, and a lock    Malek
ELECTRONIC                                                            component configured to move within the housing from a first lock
DEVICE                                                                position to a second lock position for securing the cover in the first
                                                                      cover position.
METHODS AND         US 9,148,972 B2     May 27, 2014    Sep. 29, 2015 Methods and apparatus for creating an overall assembly formed from a          Kyle H. Yeates        SAMNDCA30013526
SYSTEMS FOR                                                           transparent member and a metal member are disclosed. According to
INTEGRALLY                                                            one aspect of the present invention, a method includes positioning a
TRAPPING A GLASS                                                      transparent member in a mold configured for insertion molding, and
INSERT IN A METAL                                                     providing a liquid metal into the mold. The method also includes
BEZEL                                                                 hardening the liquid metal in the mold. Hardening the liquid metal
                                                                      includes binding the metal to the transparent member to create the
                                                                      integral assembly.




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       Title        Patent Number        Filing Date     Issue Date                                  Abstract                                      Inventor Name(s)      Starting Bates Number
CAMERA RELATED      US 9,179,055 B2     Apr. 17, 2014   Nov. 3, 2015 This application relates primarily to various apparatus and method for       Lee E. Hooton;          SAMNDCA30013550
FEATURES OF A                                                        securing and protecting a camera module within a device housing. The         Douglas S. Brodie;
MOBILE PHONE OR                                                      securing and protecting elements are configured to take up minimal           Matthew D. Hill;
COMPUTING DEVICE                                                     space within the device housing so that available space for the camera       Nicholas G. Merz;
                                                                     module is maximized. In some embodiments the securing elements can           Scott A. Myers;
                                                                     also include grounding features.                                             Terence N. Tam
GLASS ALIGNMENT     US 9,193,618 B2     Oct. 31, 2012   Nov. 24, 2015 Apparatus, systems and methods for alignment of a glass member for          Donald Ross; Adam      SAMNDCA30013568
FOR HIGH                                                              high temperature processing are disclosed. The high temperature             Stagnaro; Matthew
TEMPERATURE                                                           processing can, for example, pertain to a slumping process to mold          Theobald; Andrew
PROCESSES                                                             glass into a predetermined shape (e.g. a three-dimensional shape). In       Davidson; Michael
                                                                      one embodiment, a glass slumping system can have a mold and an              Kane Pilliod
                                                                      alignment system that support a glass member to be slumped relative to
                                                                      the mold. The alignment system may have a plurality of alignment
                                                                      members being configured to move away from the glass member as the
                                                                      temperature increases during the slumping process to allow the glass
                                                                      member to bend around the mold without interference.
MEDIA DEVICE WITH   US 9,197,338 B2     Jun. 18, 2015   Nov. 24, 2015 A personal media device including a broadcast receiver that receives        Jeffery Lee; Michael   SAMNDCA30013588
ENHANCED DATA                                                         broadcast media and broadcast media data from a broadcast source            Ignazio Ingrassia
RETRIEVAL                                                             where the broadcast media data includes a media identifier associated
FEATURE                                                               with the broadcast media. The media device also includes a data
                                                                      transceiver that sends a retrieval request to a media server for enhanced
                                                                      media data where the retrieval request includes the media identifier and
                                                                      receives the enhanced media data via a wireless data channel. The
                                                                      media device further includes a processor that performs a media device
                                                                      operation in response to the received enhanced media data.
THIN SHEET GLASS    US 9,207,528 B2     Sep. 30, 2010   Dec. 8, 2015 Improved techniques are disclosed for fabrication of touch panels using Seung Jae Hong; Lili        SAMNDCA30013608
PROCESSING                                                           thin sheet glass. Thin touch sensor panels each having a thickness of    Huang; John Z. Zhong
                                                                     substantially less than approximately one-half millimeter can be
                                                                     produced. A thin mother glass sheet having a thickness of substantially
                                                                     less then approximately one half millimeter can be used. A thin film
                                                                     can be coupled to a surface of the thin mother glass sheet, and the thin
                                                                     film can be photolithographically patterned, while avoiding breakage of
                                                                     the thin mother glass sheet. The thin mother glass sheet can be
                                                                     singulated into the thin touch sensor panels.




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       Title       Patent Number       Filing Date      Issue Date                                  Abstract                                       Inventor Name(s)       Starting Bates Number
MULTI-LEVEL        US 9,207,730 B2     Jun. 2, 2011    Dec. 8, 2015 An electronic device is configured to manage heat in the device using a       Jonathan Jay Andrews     SAMNDCA30013632
THERMAL                                                             multi level thermal management process. When the temperature of the
MANAGEMENT IN                                                       device reaches a level that requires the device to take action to adjust
AN ELECTRONIC                                                       its thermal behavior, a system level controller identifies a component in
DEVICE                                                              the device as being active and that can be controlled to adjust heat
                                                                    generation in the device. Once an active component is identified, a
                                                                    component level controller sets an activity limit for the identified active
                                                                    component that is at or above a minimum activity limit of the
                                                                    component and prevents the component from operating above this
                                                                    activity limit. Other embodiments are also described and claimed.
ENCLOSURE          US 9,213,375 B2     Sep. 6, 2012    Dec. 15, 2015 An enclosure assembly and systems and methods for using the same             Shashikant G. Hegde;    SAMNDCA30013651
ASSEMBLY AND                                                         are disclosed. The enclosure assembly may include a base plate, a            Ashutosh Y. Shukla;
SYSTEMS AND                                                          plurality of sidewalls, and one or more insulator layers disposed on the     Kenta K. Williams
METHODS FOR                                                          sidewalls. When coupled to a module, the enclosure assembly may
USING THE SAME                                                       least partially enclose the module to prevent the spread of EMI, to
                                                                     assist in heat dissipation, to protect the structural integrity of the
                                                                     module, and the like.
RETENTION SYSTEM   US 9,215,817 B1     Jul. 11, 2014   Dec. 15, 2015 A system and method for retaining enclosure components of an                 Sawyer I. Cohen;        SAMNDCA30013674
FOR DYNAMIC                                                          electronic device that can experience a range of dynamic forces is           Ashutosh Y. Shukla;
LOADING                                                              disclosed. The electronic device includes a cover component and a            Edward S. Huo;
                                                                     housing component. The electronic device also contains a retention           Michael Benjamin
                                                                     system that includes a spring clip and a compressible layer for retaining    Wittenberg
                                                                     a portion of the cover component to the housing component. The
                                                                     retention system provides a variable retention force that resists the
                                                                     separation of the cover and housing components. If the electronic
                                                                     device experiences a force that is applied abruptly, such as in the case
                                                                     of an unintentional drop event, the variable retention force is high,
                                                                     increasing the retention between the cover and housing components. If
                                                                     the electronic device experiences a slower and gradual force, such as in
                                                                     the case of intentional disassembly. The variable retention force is low,
                                                                     allowing the disassembly of the electronic device.
SAPPHIRE WINDOW    US 9,221,289 B2     Jul. 27, 2012   Dec. 29, 2015 Methods for creating sapphire windows are provided herein. In                Christopher D. Prest;   SAMNDCA30013695
                                                                     particular, one embodiment may take the form of a method of                  Ashutosh Y. Shukla;
                                                                     manufacturing sapphire windows. The method includes obtaining a              Dale N. Memering;
                                                                     polished sapphire wafer and applying decoration to the sapphire wafer.       Vashist
                                                                     The method also includes cutting the sapphire wafer into discrete            Vasanthakumar;
                                                                     windows. In some embodiments, the cutting step comprises laser               Vincent Yan; Thomas
                                                                     ablation of the sapphire.                                                    Johannessen




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       Title      Patent Number        Filing Date     Issue Date                                      Abstract                                    Inventor Name(s)       Starting Bates Number
ASSEMBLY OF A     US 9,223,345 B2     Jun. 21, 2013   Dec. 29, 2015 This invention is directed to several mechanical features of an               Teodor Dabov;            SAMNDCA30013717
HANDHELD                                                            electronic device. The electronic device may include a spring for             Fletcher R. Rothkopf;
ELECTRONIC                                                          simultaneously grounding several components. The electronic device            Philipe R. Manoux
DEVICE                                                              may include several interlocking fences for protecting electronic device
                                                                    components from RF radiation. The electronic device may include an
                                                                    antenna assembly that includes distinct components for functional and
                                                                    aesthetic purposes. The electronic device may include a window for
                                                                    permitting RF transmissions. The electronic device may include a metal
                                                                    frame for stiffening the electronic device. The electronic device may
                                                                    include a bezel used for aesthetic purposes and to support numerous
                                                                    electronic device components. The electronic device may include a
                                                                    flexible housing operative to elastically deform to assemble the
                                                                    electronic device. The electronic device may include an unsupported
                                                                    button.
RETENTION KEY     US 9,225,115 B2     Jun. 7, 2013    Dec. 29, 2015 Board-to-board connectors that consume a minimal amount of board              Shayan Malek;           SAMNDCA30013744
LOCK FOR BOARD-                                                     area, are simple to assemble, and provide a clear indication that a           Astoush Y. Shukla;
TO-BOARD                                                            proper connection has been made. One example may consume minimal              Michael B. Wittenberg
CONNECTORS                                                          area, since only a retention key and slots in boards and connectors are
                                                                    needed. The connector may be simple to assemble since it may be as
                                                                    simple as stacking components, pushing down, and turning a retention
                                                                    key. Further, a first and a first line on a key and a cowling maybe
                                                                    aligned after assembly to provide a clear indication that the connector
                                                                    has been properly assembled.
CERAMIC INSERT    US 9,232,672 B2     Jan. 10, 2013   Jan. 5, 2016   A control mechanism for an electronic device comprises a cover glass         Kelvin Kwong;           SAMNDCA30013755
CONTROL                                                              having an aperture defined therein. The aperture extends from an             Benjamin J. Pope;
MECHANISM                                                            interior to an exterior of the device. A control member is positioned        Nicholas G. Merz
                                                                     within the aperture, coupled to an actuator. The control member
                                                                     comprises a ceramic insert having a contact surface exposed to the
                                                                     exterior of the housing, operable to actuate the actuator in response to a
                                                                     force on the contact surface. A bearing member is molded about the
                                                                     insert. The bearing member has a hardness less than that of the ceramic
                                                                     insert, and less than that of the cover glass.




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                                                                              Apple Utility Patents

       Title       Patent Number       Filing Date      Issue Date                                      Abstract                                    Inventor Name(s)       Starting Bates Number
AUDIO PORT         US 9,237,389 B2     May 13, 2013    Jan. 12, 2016 A portable electronic device that provides compact configurations for         Michelle Yu; Richard     SAMNDCA30013770
CONFIGURATION                                                        audio elements are disclosed. The audio elements can be drivers (e.g.,        Hung Minh Dinh;
FOR COMPACT                                                          speakers) or receivers (e.g., microphones). In one embodiment, an             Tang Yew Tan;
ELECTRONIC                                                           audio element can be mounted on or coupled to an intermediate                 Shaohai Chen
DEVICES                                                              structure (e.g., a flexible electrical substrate) having an opening therein
                                                                     to allow audio sound to pass there through. In another embodiment, an
                                                                     audio chamber can be formed to assist in directing audio sound
                                                                     between an opening an outer housing and a flexible electronic substrate
                                                                     to which the audio element is mounted or coupled thereto. In still
                                                                     another embodiment, a barrier, such as a mesh barrier, can be provided
                                                                     in an opening of an outer housing so that undesired foreign substances
                                                                     can be blocked from further entry into the opening in the outer housing.
SELF CAPTURING     US 9,263,204 B2     Oct. 1, 2012    Feb. 16, 2016 A housing of an electronic device encloses and supports at least one          Felix Jose Alvarez      SAMNDCA30013786
AND KEYED MOBILE                                                     operational component and includes at least one opening sized to              Rivera; Wey-Jiun Lin;
DEVICE BUTTON                                                        accommodate a mechanical input assembly. The mechanical input                 Emery Sanford
                                                                     assembly includes a feature arranged to receive an input event, at least
                                                                     a portion of the feature exposed at an outside surface of the housing, an
                                                                     operational indicia visible on the exposed portion and having a
                                                                     preferred orientation with respect to the housing, the operational
                                                                     indicial providing an indication of how an operation of the operational
                                                                     component is influenced, and a shaft having a size and shape in
                                                                     accordance with the opening, the shaft attached to the external feature
                                                                     at a first end and an integrally formed self-capturing feature at the
                                                                     second end. The self-capturing feature is inserted into the opening until
                                                                     activated. The indicia is then properly aligned and the mechanical input
                                                                     assembly is locked to the housing.
METHOD FOR         US 9,263,842 B2     Apr. 22, 2014   Feb. 16, 2016 An electronic device is provided. The device may include a plate              John Benjamin Filson;   SAMNDCA30013805
ASSEMBLING                                                           placed behind a screen formed from a window and a display module to           Duane Lawrence
ELECTRONIC                                                           provide the screen with additional stiffness (e.g., to resist dropping        Fowler
DEVICE                                                               events). The window may be maintained in the electronic device by
                                                                     trapping the window between a bezel and the display module. In some
                                                                     embodiments, the window may include a chamfered edge operative to
                                                                     be received by a recessed edge in the bezel. In some embodiments, the
                                                                     input mechanism of the electronic device may be metallic and need to
                                                                     be grounded, but may be surrounded by components or other non-
                                                                     grounding components. The device may include screws operative to
                                                                     pass through a circuit board to reach a frame, which may serve as a
                                                                     ground, where the screws are located in proximity of the button. In
                                                                     some embodiments. the circuit board may include an additional
                                                                     component for grounding the button.




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       Title       Patent Number       Filing Date     Issue Date                                    Abstract                                    Inventor Name(s)       Starting Bates Number
BULK AMORPHOUS     US 9,279,733 B2     Jul. 3, 2012    Mar. 8, 2016 Pressure sensing systems comprising bulk-solidifying amorphous              Christopher D. Prest;    SAMNDCA30013814
ALLOY PRESSURE                                                      alloys and pressure-sensitive switches containing bulk-solidifying          Matthew S. Scott;
SENSOR                                                              amorphous alloys. The bulk-solidifying amorphous alloys are capable         Stephen P. Zadesky;
                                                                    of repeated deformation upon application of pressure, and change their      Dermot J. Stratton.;
                                                                    electrical resistivity upon deformation, thereby enabling measurement       Joseph C. Poole;
                                                                    of the change in resistivity and consequently, measuring the                Theodore A. Waniuk
                                                                    deformation and amount of pressure applied.
LOAD SHARING       US 9,288,928 B2     Jun. 27, 2014   Mar. 15, 2016 A bracket configured to be interposed between the housing of a mobile      Albert J. Golko; Eric   SAMNDCA30013840
DEVICE AND I/O                                                       electronic device and an electrical receptacle that is disposed in the     S. Jol; Charles B.
ARCHITECTURE                                                         mobile electronic device. The bracket includes a bracket body, an          Woodhull
AGAINST IMPARTED                                                     elongated opening through the bracket and a sheath surrounding
ABUSE LOADS                                                          portions of the bracket body. The bracket body includes an elongated
                                                                     protrusion extending in a front direction from the front face of the
                                                                     bracket body and a pair of fastener accommodations extending through
                                                                     the bracket body, each fastener accommodation disposed on opposite
                                                                     sides of the elongated protrusion. The sheath includes a first portion
                                                                     surrounding a portion of the bracket body elongated protrusion and a
                                                                     second portion including a pair of fastener openings.
SYNCHRONIZED       US 9,305,402 B2     Jan. 2, 2014    Apr. 5, 2016 A device can receive live video of a real-world, physical environment       Brett C. Bilbrey;       SAMNDCA30013854
INTERACTIVE                                                         on a touch sensitive surface. One or more objects can be identified in      Nicholas V. King;
AUGMENTED                                                           the live video. An information layer can be generated related to the        Aleksandar Pance
REALITY DISPLAYS                                                    objects. In some implementations, the information layer can include
FOR                                                                 annotations made by a user through the touch sensitive surface. The
MULTIFUNCTION                                                       information layer and live video can be combined in a display of the
DEVICES                                                             device. Data can be received from one or more onboard sensors
                                                                    indicating that the device is in motion. The sensor data can be used to
                                                                    synchronize the live video and the information layer as the perspective
                                                                    of video camera view changes due to the motion. The live video and
                                                                    information layer can be shared with other devices over a
                                                                    communication link.
BIOMETRIC SENSOR   US 9,305,959 B2     Jun. 3, 2014    Apr. 5, 2016 A sensor includes a sensor array formed on a first side of a substrate      Milind S. Bhagavat;     SAMNDCA30013873
CHIP HAVING                                                         and at least one circuit operative to communicate with the sensor array     Jun Zhai
DISTRIBUTED                                                         formed on a second side of the substrate. At least one via extends
SENSOR AND                                                          through the substrate to electrically connect the sensor array to the at
CONTROL                                                             least one circuit. Placing the at least one circuit on the second side of
CIRCUITRY                                                           the substrate allows the sensor array to occupy substantially all of the
                                                                    first side of the substrate.




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      Title        Patent Number       Filing Date     Issue Date                                   Abstract                                      Inventor Name(s)       Starting Bates Number
ELECTRO-OPTIC      US 9,307,158 B2     Jan. 2, 2014    Apr. 5, 2016 An electro-optic aperture has a stack that includes a front transparent      Jeffrey Nathan           SAMNDCA30013889
APERTURE DEVICE                                                     conductor medium, an active electro-chromic medium, and a rear               Gleason; Henry H.
                                                                    transparent conductor medium. The front and rear transparent                 Yang
                                                                    conductor mediums are directly connected to each other by a
                                                                    conductive section located within the imaging path. Other
                                                                    embodiments are also described and claimed.
FLEXIBLE SHOCK     US 9,318,802 B2     Dec. 11, 2014   Apr. 19, 2016 The subject matter of the disclosure relates to connectors for antenna      James B. Smith;         SAMNDCA30013906
ABSORBING                                                            feed assemblies and display coupling components of a mobile device.         Gregory N. Stephens;
CONNECTIONS                                                          The flexible connectors can be configured with a flexible spring            Boon W. Shiu; Shayan
WITHIN A MOBILE                                                      connector component that couples a mobile device antenna to a main          Malek; Marwan
COMPUTING DEVICE                                                     logic board of the mobile device within a housing of the mobile device      Rammah; Scott A.
                                                                     such that the flexible connector can withstand a drop event, while at the   Myers; Ashutosh Y.
                                                                     same providing for an in-line inductance as part of an antenna-defined      Shukla; Eric N.
                                                                     design requirement. The display of the mobile device can be coupled to      Nyland; Matthew D.
                                                                     a housing of the mobile device using a pin-screw arrangement that           Hill; Michael
                                                                     allows the display to controllably shift in the X-direction and the Y-      Benjamin Wittenberg;
                                                                     direction, while only being purposefully constrained in the Z-direction     Rasamy Phouthavong;
                                                                     (with reference to a 3-dimensional graph having X, Y, and Z axes).          Benjamin Shane Bustle
                                                                     This configuration can prevent the display from being pulled out of
                                                                     alignment during a drop event.
LOW-PROFILE        US 9,319,760 B2     Jan. 23, 2013   Apr. 19, 2016 A portable electronic device that provides audio sound output from          Ruchi Goel; Stephen     SAMNDCA30013925
SPEAKER                                                              multiple internal speakers to a common output audio opening in a            R. McClure
ARRANGEMENTS                                                         housing of the portable electronic device is disclosed. In one
FOR COMPACT                                                          embodiment, the multiple internal speakers are provided in close
ELECTRONIC                                                           proximity to one another, such as adjacent to one another, and serve to
DEVICES                                                              produce audio sound pertaining to different audio channels. The sound
                                                                     (i.e., pressure waves) produced by each of the internal speakers is
                                                                     directed into a respective acoustic chamber and output via the output
                                                                     audio opening in the housing. Accordingly, the acoustic chambers for
                                                                     the multiple internal speakers can each direct their audio sound output
                                                                     to the same output audio opening in the housing. The respective
                                                                     acoustic chambers can be formed adjacent to one another with a
                                                                     structural barrier serving to separate the distinct acoustic chambers.




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       Title        Patent Number        Filing Date   Issue Date                                    Abstract                                    Inventor Name(s)       Starting Bates Number
COMBINED AUDIO      US 9,326,391 B2     Aug. 16, 2013 Apr. 26, 2016 Enclosures for electronic devices are provided. These enclosures can be     Charles B. Woodhull;     SAMNDCA30013939
JACK AND MOBILE                                                     integrally formed with a full or partial receptacle connector shell for     Jason S. Sloey
ELECTRONIC                                                          receiving electrical connectors such as audio connectors or plugs. For
DEVICE ENCLOSURE                                                    example, an enclosure made from a polymer can be integrally formed
                                                                    with an audio jack shell in an injection molding process. As another
                                                                    example, an enclosure can be integrally formed with one or more full
                                                                    or partial walls of an audio jack shell to form a single piece of polymer
                                                                    or metal and the remaining walls of the audio jack shell can be
                                                                    overmolded or assembled to the polymer or metal walls of the audio
                                                                    jack and proximate portions of the enclosure to form a full or complete
                                                                    audio jack shell.
HYBRID FORCE        US 9,329,719 B2     Jun. 11, 2013   May 3, 2016 A hybrid touch-screen display that integrates force-based touch-screen Anders L. Mölne;             SAMNDCA30013955
SENSITIVE TOUCH                                                     technology with any one from among a group of projective capacitive,        David Griffith
DEVICES                                                             surface capacitive, resistive, digital resistive, SAW, IR, APR, DST,
                                                                    optical and electromagnetic touch-screen technologies to provide an
                                                                    ability to compensate for non-perfect force transfer. An alternate
                                                                    implementation is also disclosed that employs a single force sensor for
                                                                    relative force measurement in a system in which force is traditionally
                                                                    not measured, here a water dispenser unit. This allows compensation
                                                                    for varying static loads, run-time calibration, and filtering of extraneous
                                                                    loads through firmware.
BATTERY WITH        US 9,331,358 B2     Jan. 26, 2010   May 3, 2016 The disclosed embodiments provide a battery cell which includes a set         Ramesh C. Bhardwaj;   SAMNDCA30013965
MULTIPLE JELLY                                                      of jelly rolls enclosed in a pouch. Each jelly roll includes layers which     Taisup Hwang;
ROLLS IN A SINGLE                                                   are wound together, including a cathode with an active coating, a             Richard M. Mank.
POUCH                                                               separator, and an anode with an active coating. The battery cell also
                                                                    includes a first set of conductive tabs and a second set of conductive
                                                                    tabs. Each of the first set of conductive tabs is coupled to the cathode of
                                                                    one of the jelly rolls, and each of the second set of conductive tabs is
                                                                    coupled to the anode of one of the jelly rolls. At least one of the first set
                                                                    and one of the second set of conductive tabs extend through seals in the
                                                                    pouch to provide terminals for the battery cell.




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       Title      Patent Number        Filing Date     Issue Date                                    Abstract                                   Inventor Name(s)      Starting Bates Number
ELECTRONIC        US 9,338,908 B2     Feb. 11, 2015   May 10, 2016 The embodiments described herein relate to methods, systems, and            Napthaneal Y. Tan;      SAMNDCA30013977
DEVICES WITH                                                       structures for cutting a part to form a highly reflective and smooth        Lucy Elizabeth
REFLECTIVE                                                         surface thereon. In some embodiments, the part includes substantially       Browning
CHAMFER                                                            horizontal and vertical surfaces with edges and comers. In described
SURFACES                                                           embodiments, a diamond cutter is used to cut a surface of the part
                                                                   during a milling operation where the diamond cutter contacts the part a
                                                                   number of times with each rotation of the spindle of a milling machine.
                                                                   The diamond cutter has a cutting edge and a land. The cutting edge cuts
                                                                   the surface of the part and the land burnishes the surface of the part to
                                                                   form a highly reflective and smooth surface. Thus, the diamond cutter
                                                                   cuts and burnishes portions of the part, thereby eliminating a
                                                                   subsequent polishing step.
AUDIO JACK        US 9,363,343 B2     Aug. 29, 2014   Jun. 7, 2016   An electronic device enclosure that includes a housing and a frame and    Matthew P. Rao;        SAMNDCA30013999
CONNECTOR                                                            an integrally formed connector shell. The connector shell includes a      Stefan C. Mag; Trent
INTEGRATED INTO                                                      first portion integrally fom1ed with the housing and a second portion     K. Do
ENCLOSURE                                                            integrally formed with the frame. The first and second portions of the
                                                                     connector shell are joined at first and second mating surfaces,
                                                                     respectively, forming a cavity therebetween in which a plurality of
                                                                     receptacle connector contacts are positioned.
SNAP DOMES AS     US 9,389,721 B2     Feb. 9, 2012    Jul. 12, 2016 A protection mechanism for force-based touch sensitive input panels or     Mark Lackey            SAMNDCA30014014
SENSOR                                                              displays comprising a "snap dome", e.g., a semi-rigid pliable dome
PROTECTION                                                          positioned over each sensor for increased overload protection. The snap
                                                                    dome is unidirectionally-resilient to a known point of collapse. It
                                                                    therefore imparts a predetermined resistance to compression over a
                                                                    known range of travel along the z-axis, but is unyielding along the x-
                                                                    and y-axis. As the touch panel is depressed toward the standoff. The
                                                                    snap dome resists compression until it collapses, allowing the touch
                                                                    panel to encounter the standoff. The standoff then imparts dead-stop
                                                                    overload force protection to the sensors. This allows for the placement
                                                                    of mechanical stops (such as stop screws) with a less exacting
                                                                    tolerance. Moreover, the snap domes introduce no x- or y-axis force
                                                                    losses/increases, and do not cause tilting of the touch panel. The touch
                                                                    force remains perfectly perpendicular and accuracy is preserved.




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                                                                              Apple Utility Patents

       Title       Patent Number        Filing Date     Issue Date                                   Abstract                                      Inventor Name(s)      Starting Bates Number
ELECTRONIC         US 9,411,451 B2     Apr. 21, 2015   Aug. 9, 2016 Electronic devices may be provided that contain flexible displays that        Scott A. Myers;         SAMNDCA30014026
DEVICES WITH                                                        are bent to form displays on multiple surfaces of the devices. Bent           Stephen Brian Lynch;
SIDEWALL                                                            flexible displays may be bent to form front side displays and edge            Anthony S.
DISPLAYS                                                            displays. Edge displays may be separated from front side displays or          Montevirgen
                                                                    from other edge displays using patterned housing members, printed or
                                                                    painted masks, or by selectively activating and inactivating display
                                                                    pixels associated with the flexible display. Edge displays may
                                                                    alternately function as virtual buttons, virtual switches, or informational
                                                                    displays that are supplemental to front side displays. Virtual buttons
                                                                    may include transparent button members, lenses, haptic feedback
                                                                    components, audio feedback components, or other components for
                                                                    providing feedback to a user when virtual buttons are activated.
ANTENNA,           US 9,444,131 B2     Mar. 4, 2014    Sep. 13, 2016 A portable computing device is disclosed. The portable computing             Erik A. Uttermann;     SAMNDCA30014053
SHIELDING AND                                                        device can take many forms such as a laptop computer, a tablet               Jeremy C. Franklin;
GROUNDING                                                            computer, and so on. The portable computing device can include a             Stephen C. McClure;
                                                                     single piece housing formed from a radio opaque material with a cover        Sean S. Corbin;
                                                                     formed from a radio transparent material. To implement a wireless            Qingxiang Li; Rodney
                                                                     interface, an antenna stack-up can be provided that allows an antenna        A. Gomez Angulo
                                                                     to be mounted to a bottom of the cover. Methods and apparatus are
                                                                     provided for improving wireless performance. For instance, in one
                                                                     embodiment, a metal housing can be thinned to improve antenna
                                                                     performance. As another example, a faraday cage can be formed
                                                                     around speaker drivers to improve antenna performance.
ELECTRONIC         US 9,502,750 B2     Apr. 2, 2013    Nov. 22, 2016 An electronic device may have an antenna for providing coverage in       Salih Yarga;               SAMNDCA30014082
DEVICE WITH                                                          wireless communications bands of interest. The wireless                  Qingxiang Li; Robert
REDUCED EMITTED                                                      communications bands may include a communications band at a first        W. Schlub
RADIATION DURING                                                     frequency. The antenna may have a parasitic antenna resonating
LOADED ANTENNA                                                       element that supports a low efficiency resonance. In response to
OPERATING                                                            operation of the electronic device in free space, the low efficiency
CONDITIONS                                                           resonance will be located at a second frequency that is greater than the
                                                                     first frequency. In response to operation of the electronic device in
                                                                     proximity to a user's body or other external object, the antenna will be
                                                                     loaded and the low efficiency resonance associated with the parasitic
                                                                     antenna resonating element will shift to the communications band at the
                                                                     first frequency. The antenna may include a resonating element formed
                                                                     on a flexible printed circuit or a dielectric carrier such as a plastic
                                                                     support structure.




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                                                                               Apple Utility Patents

      Title        Patent Number        Filing Date   Issue Date                                     Abstract                                      Inventor Name(s)        Starting Bates Number
MAGNETOMETER       US 9,506,754 B2     Mar. 25, 2014 Nov. 29, 2016 A parameter related to the Earth's magnetic field can be used to               Robert Mayor; Patrick     SAMNDCA30014103
ACCURACY AND                                                       determine accuracy of a magnetometer of a mobile device. In one                Piemonte; Ronald
USE                                                                aspect, a first instance of a parameter related to Earth's magnetic field is   Keryuan Huang; Parin
                                                                   determined using data generated by the magnetometer. The                       Patel
                                                                   magnetometer data can be based in part on a position of the mobile
                                                                   device with respect to the Earth. A second instance of the parameter
                                                                   can be determined using data generated by a model of Earth's magnetic
                                                                   field. The model data can also be based in part on the position of the
                                                                   mobile device with respect to the Earth. The first instance of the
                                                                   parameter can be compared with the second instance of the parameter.
                                                                   An accuracy metric for the magnetometer can be determined based on a
                                                                   result of the comparison. An indication of the accuracy metric can be
                                                                   presented by the mobile device.
BACKLIGHT AND      US 9,513,739 B2     Mar. 10, 2014    Dec. 6, 2016 Apparatuses and methods to operate a display device of an electronic         Scott M. Herz; Roberto   SAMNDCA30014118
AMBIENT LIGHT                                                        device. In some embodiments, a method includes receiving a user              G. Yepez; Scott
SENSOR SYSTEM                                                        setting or input of a display control parameter, and causing or altering,    Forstall; Patrick L.
                                                                     based on the user setting or input, an effect of an ambient light sensor     Coffman
                                                                     value (ALS) on control of the display control parameter. The user input
                                                                     maybe an unlock of a touch screen input capability of the display
                                                                     device, and a wake of the display device from inactivity dim. Also,
                                                                     according to embodiments of the inventions, a method of operating a
                                                                     display of an electronic device includes receiving a change to one of a
                                                                     display brightness output level and an ambient light sensor output level,
                                                                     and altering, according to the change. a display brightness or contrast
                                                                     output level. Other apparatuses and methods and data processing
                                                                     systems and machine readable media are also described.
DISPLAY DEVICE     US 9,530,358 B2     Feb. 20, 2013   Dec. 27, 2016 Systems and methods are provided for a display device including one          William Bryson           SAMNDCA30014153
CONTROL BASED ON                                                     or more methods for modifying the display brightness by automatically        Gardner, Jr.
INTEGRATED                                                           adapting to ambient lighting conditions.
AMBIENT LIGHT
DETECTION AND
LIGHTING SOURCE




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       Title       Patent Number        Filing Date   Issue Date                                     Abstract                                        Inventor Name(s)      Starting Bates Number
PIEZOELECTRIC      US 9,531,926 B2     Nov. 24, 2014 Dec. 27, 2016 In some embodiments, a camera component includes an annular lens                 Simon S. Lee; Qiang     SAMNDCA30014169
ACTUATOR FOR                                                       holder component having a threaded interior surface for translating              Yang
CAMERA MODULE                                                      rotational motion of an optics barrel component into motion along an
                                                                   optical axis of the optics barrel component. In some embodiments, the
                                                                   threaded interior surface of the lens holder component includes one or
                                                                   more threads complementary to one or more threads of a threaded
                                                                   exterior surface of an optics barrel component. In some embodiments,
                                                                   the optics barrel component is movably mounted on the threads of the
                                                                   threaded interior surface of the lens holder component for rotational
                                                                   motion within the lens holder component. In some embodiments, the
                                                                   optics barrel has a threaded exterior surface with one or more threads
                                                                   complementary to the threads of the threaded interior surface of the
                                                                   lens holder component. Some embodiments include a piezoelectric
                                                                   motor fixedly mounted to a base component.
HYBRID IMAGE       US 9,549,099 B2     Mar. 12, 2013   Jan. 17, 2017 A method for performing correlated double sampling for a sensor, such          Xiaofeng Fan           SAMNDCA30014196
SENSOR                                                               as an image sensor. The method includes collecting a first charge
                                                                     corresponding to a first parameter, transferring the first charge to a first
                                                                     storage component, transferring the first charge from the first storage
                                                                     component to a second storage component, resetting the first storage
                                                                     component, transferring the first charge from the second storage
                                                                     component to the first storage component, and reading the first storage
                                                                     component to determine the first charge. The method may be
                                                                     implemented in electronic devices including image sensors.
TEMPERATURE        US 9,568,704 B1     Aug. 17, 2015   Feb. 14, 2017 In some embodiments, the method includes measuring a first                     Calvin K. Wong;        SAMNDCA30014217
BASED CONTROL OF                                                     responsive voltage value for a first voltage drop between a first              Shashikant G. Hegde;
VOICE COIL MOTOR                                                     terminal attached to a first suspension spring of an actuator housing a        Richard L. Baer
                                                                     voice coil motor for moving a lens assembly and a second terminal of
                                                                     the magnetic coil of the voice coil motor. In some embodiments, the
                                                                     method includes calculating a first resistance of the magnetic coil based
                                                                     at least in part upon the first voltage value and measuring a second
                                                                     responsive voltage value for a second voltage drop between the first
                                                                     terminal attached and the second terminal. In some embodiments, the
                                                                     method includes calculating a second resistance of the magnetic coil
                                                                     based at least in part upon the second responsive voltage value and
                                                                     calculating a relative temperature for the magnetic coil based at least in
                                                                     part upon the first resistance and the second resistance.




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                                                                                Apple Utility Patents

       Title         Patent Number       Filing Date      Issue Date                                   Abstract                                    Inventor Name(s)          Starting Bates Number
PORTABLE             US 9,569,089 B2     Oct. 8, 2010    Feb. 14, 2017 A portable communication device with multi-touch input detects one or      Bas Ording; Scott           SAMNDCA30014245
ELECTRONIC                                                             more multi-touch contacts and motions and performs one or more             Forstall; Greg Christie;
DEVICE WITH MULTI-                                                     operations on an object based on the one or more multi-touch contacts      Stephen O. Lemay;
TOUCH INPUT                                                            and/or motions. The object has a resolution that is less than a pre-       Imran Chaudhri
                                                                       determined threshold when the operation is performed on the object,
                                                                       and the object has a resolution that is greater than the pre-determined
                                                                       threshold at other times.
THIN FILM            US 9,570,775 B2     Sep. 27, 2013   Feb. 14, 2017 A battery assembly can be formed on a base layer provided on a             Lili Huang; Richard        SAMNDCA30014267
TRANSFER BATTERY                                                       temporary process substrate, with a thin film battery stack including an   M. Mank
SYSTEMS                                                                anode layer, a cathode layer, and an electrolyte layer between the anode
                                                                       and cathode layers. The thin film battery stack can be bonded to a
                                                                       transfer layer, and the process substrate can be removed for assembly
                                                                       into a battery system.
HYDROPHOBIC          US 9,573,165 B2     Sep. 2, 2014    Feb. 21, 2017 A screen having a hydrophobic portion to resist the entry of liquid into   Douglas J. Weber;          SAMNDCA30014285
MESH COVER                                                             an acoustic module and a hydrophilic portion to aid in the removal of      Naoto Matsuyuki
                                                                       liquid from an acoustic chamber is described. The screen is placed in
                                                                       an orifice in the acoustic module between the external environment and
                                                                       the internal acoustic chamber.
CRACK MITIGATION     US 9,575,507 B1     Sep. 2, 2015    Feb. 21, 2017 A cover glass including a center region and an outer region abutting the   Christopher D. Jones;      SAMNDCA30014302
IN AN OPTICALLY                                                        center region at an interface. The interface inhibits crack propagation    Alexander W.
TRANSPARENT                                                            from the outer region to the center region and vice versa. In another      Williams; Dale N.
EXTERIOR OF A                                                          embodiment the cover glass may include mitigation voids introduced         Memering; Matthew S.
PORTABLE                                                               into the cover glass to inhibit crack propagation. The interface may be    Rogers
ELECTRONIC                                                             formed from the mitigation voids.
DEVICE
CAPACITIVE SENSOR    US 9,576,178 B2     Feb. 8, 2016    Feb. 21, 2017 An apparatus comprises a fingerprint sensor having a set of capacitive     Benjamin J. Pope;          SAMNDCA30014320
PACKAGING                                                              elements configured for capacitively coupling to a user fingerprint. The   Shawn Arnold; Barry
                                                                       fingerprint sensor may be disposed under a control button or display       J. Corlett; Terry L.
                                                                       element of an electronic device, for example one or more of a control      Gilton; Syed Husaini;
                                                                       button and a display component. A responsive element is responsive to      Steven Webster; Scott
                                                                       proximity of the user fingerprint, for example one or both of a first      A. Myers; Matthew D.
                                                                       circuit responsive to motion of the control button, and a second circuit   Hill; Benjamin B.
                                                                       responsive to a coupling between the fingerprint and a surface of the      Lyon
                                                                       display element. The fingerprint sensor is disposed closer to the
                                                                       fingerprint than the responsive element. The control button or display
                                                                       component may include an anisotropic dielectric material, for example
                                                                       sapphire.




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                                                                              Apple Utility Patents

       Title       Patent Number        Filing Date     Issue Date                                  Abstract                                      Inventor Name(s)        Starting Bates Number
DEVICE HOUSING     US 9,583,285 B1     Nov. 21, 2014   Feb. 28, 2017 Input elements, handles, enclosures and alignment of such elements          Bartley K. Andre;         SAMNDCA30014338
HAVING IMPROVED                                                      and handles within an electronic device. The elements, such as buttons      Mikael Silvanto;
TOLERANCES                                                           or input devices, and handles discussed herein may be configured,           Houtan Farahani;
                                                                     assembled and/or installed within and/or on an electronic device to         Gavin J. Reid; Jason
                                                                     ensure proper alignment and positioning within the housing of the           Keats
                                                                     electronic device. By properly aligning and positioning the elements
                                                                     and handles within or on the housing of the electronic device, the
                                                                     elements and handles may provide accurate input to the electronic
                                                                     device and may be visually appealing to a user. Additionally, a two-
                                                                     piece enclosure including a hook and cutout portion may secure and/or
                                                                     protect the internal components of the electronic device, while also
                                                                     providing a visually "seamless" connection between the two-pieces for
                                                                     forming the enclosure of the electronic device.
HEAT SEALED        US 9,590,377 B2     Jan. 21, 2014   Mar. 7, 2017 Heat sealing a connector assembly can be performed by providing              Eric S. Jol              SAMNDCA30014370
CONNECTOR                                                           connector assembly in component accessible state, overlaying sealing
ASSEMBLY                                                            tape on electrical contacts and housing, scaling tape being impregnated
                                                                    with heat sensitive adhesive, the overlaying leaving the dimples
                                                                    exposed, and sealing the connector assembly by applying heat to heat
                                                                    sensitive sealing tape.
HOUSING FEATURES   US 9,591,110 B2     Feb. 10, 2015   Mar. 7, 2017 An enclosure and a method for forming an enclosure are disclosed. The        Matthew D. Hill;         SAMNDCA30014391
OF AN ELECTRONIC                                                    enclosure may be formed from metal, such as aluminum, and further            Derek C. Krass;
DEVICE                                                              include a non-metal portion allowing for transmission and receipt of         Benjamin Shane
                                                                    electromagnetic waves. The non-metal portion may be interlocked to           Bustle; Lucy Elizabeth
                                                                    the enclosure and in particular, to a region within the enclosure            Browning; Michael
                                                                    including a first material having a relatively high strength and stiffness   Benjamin Wittenberg;
                                                                    compared to the non-metal portion. Interlocking means may include            James B. Smith;
                                                                    forming dovetail cuts into the enclosure to receive the non-metal            Ashutosh Y. Shukla;
                                                                    portion, a hole or cavity drilled into the enclosure which includes          Scott A. Myers
                                                                    internal threads, and a rod inserted into the first material to provide a
                                                                    tension to the non-metal portion. Methods of assembling internal
                                                                    components using anodization are also disclosed.




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                                                                             Apple Utility Patents

      Title       Patent Number        Filing Date    Issue Date                                   Abstract                                      Inventor Name(s)     Starting Bates Number
THERMALLY         US 9,591,215 B1     Sep. 11, 2015   Mar. 7, 2017 Embodiments of the invention include devices, systems and methods           Scott W. Miller;        SAMNDCA30014417
CONDUCTIVE                                                         for using or manufacturing a camera enclosure or mobile device that         Ihtesham H.
CAMERA                                                             includes a thermally conductive camera module, such as having a             Chowdhury; Ryan J.
ENCLOSURE                                                          minimum thermal conductivity of 200 watts per meter Kelvin (W/mK),          Dunn; Jeffrey Nathan
                                                                   that enhances heat transfer between a stiffener and cap of the enclosure.   Gleason
                                                                   This allows heat produced by the camera to be conducted forward,
                                                                   away from the bottom of the stiffener, through the stiffener, and to the
                                                                   top of can so that the bottom of the stiffener does not heat to a high
                                                                   temperature, components of the device or an outer surface of a cover of
                                                                   the device near the bottom of the stiffener. This substantially increases
                                                                   the time before or avoids having the temperature of outer surface reach
                                                                   a high temperature, such as one that will be uncomfortable to the user.
                                                                   Other embodiments are also described and claimed.
LINEAR ACTUATOR   US 9,608,506 B2     Feb. 17, 2016   Mar. 28, 2017 Embodiments described herein may take the form of an                       Brett W. Degner;       SAMNDCA30014438
                                                                    electromagnetic actuator that produces a haptic output during              Bradley J. Hamel;
                                                                    operation. Generally, an electromagnetic coil is wrapped around a          David H. Narajowski;
                                                                    central magnet array. A shaft passes through the central magnet array,     Jonah A. Harley;
                                                                    such that the central array may move along the shaft when the proper       Michael E. Leclerc;
                                                                    force is applied. When a current passes through the electromagnetic        Patrick Kessler;
                                                                    coil, the coil generates a magnetic field. The coil is stationary with     Samuel Bruce Weiss;
                                                                    respect to a housing of the actuator, while the central magnet array may   Storrs T. Hoen
                                                                    move along the shaft within the housing. Thus, excitation of the coil
                                                                    exerts a force on the central magnet array, which moves in response to
                                                                    that force. The direction of the current through the coil detem1ines the
                                                                    direction of the magnetic field and thus the motion of the central
                                                                    magnet array.
WIRE SUSPENSION   US 9,615,025 B2     Sep. 5, 2014    Apr. 4, 2017 Some embodiments include an optics assembly. In some embodiments,           Jeffrey N. Gleason;    SAMNDCA30014454
MOUNTING                                                           the optics assembly includes an optics component. In some                   Ryan J. Dunn; Scott
APPROACH FOR                                                       embodiments, the optics assembly is configured to move within the           W. Miller
REDUCED OPTICAL                                                    apparatus on one or more axes orthogonal to an optical axis of the
IMAGE                                                              optics component. In some embodiments, the optics assembly is
STABILIZATION                                                      suspended by a plurality of wires on a base component of the
PACKAGE SIZE                                                       apparatus, each wire of the plurality of wires being substantially
                                                                   parallel to the optical axis of the optics component. Some embodiments
                                                                   include a base assembly component or substrate having an upper
                                                                   surface plane and a lower surface plane. In some embodiments, one or
                                                                   more terminations are disposed around the plurality of wires. In some
                                                                   embodiments, the terminations are located beyond the upper surface
                                                                   plane of the base assembly component.




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       Title       Patent Number        Filing Date     Issue Date                                   Abstract                                    Inventor Name(s)        Starting Bates Number
SAPPHIRE           US 9,623,628 B2     Jan. 10, 2013   Apr. 18, 2017 A method comprises shaping an aluminum oxide ceramic material into         Kelvin Kwong              SAMNDCA30014477
COMPONENT WITH                                                       a component for an electronic device. The component has first and
RESIDUAL                                                             second major surfaces. A selected region of one or both of the first and
COMPRESSIVE                                                          second major surfaces is heated to an annealing temperature. The
STRESS                                                               selected region is then cooled below the annealing temperature, so that
                                                                     residual compressive stress is generated in the selected region.
MAGNETIC           US 9,627,130 B2     Mar. 24, 2015 Apr. 18, 2017 A first and second electronic device each including a connection             Albert J. Golko; Eric    SAMNDCA30014492
CONNECTION AND                                                     surface and a magnetic element. The first and second devices may be in       S. Jol; Christopher S.
ALIGNMENT OF                                                       contact along the respective connection surfaces. The magnetic               Graham; Paul J.
CONNECTIBLE                                                        elements may be configured to align the first and second devices by          Thompson; Jeffrey M.
DEVICES                                                            moving either or both of the first and second devices relative to each       Alves; Daniel
                                                                   other to achieve an aligned position. The magnetic element may also be       Wagman; Stephen E.
                                                                   operative to resist disconnection of first and second electronic devices     Yao; Makiko K.
                                                                   when in the aligned position.                                                Brzezinski
DUAL ANTENNA       US 9,640,856 B2     Apr. 11, 2013   May 2, 2017 A multiple antenna feed assembly including an antenna feed support           Shayan Malek             SAMNDCA30014514
FEED CLIP                                                          having a body made of an electrically insulating material and a method
                                                                   of fom1ing the antenna feed assembly. The antenna feed support may
                                                                   have a slot adapted to receive a connector; and a gap formed in the
                                                                   body having a thickness to fit a printed circuit board (PCB). The
                                                                   multiple antenna feed assembly may include a first connector adapted
                                                                   to fit in the slot of the antenna feed support; and a second connector
                                                                   electrically isolated from the first connector. Also provided is an
                                                                   ante1ma feed support to provide structural support and electrical
                                                                   isolation for the components of a multiple antenna feed assembly as
                                                                   above.
MULTIBAND          US 9,653,783 B2     Aug. 19, 2015 May 16, 2017 Electronic devices are provided that contain wireless communications          Joshua G. Nickel; Juan   SAMNDCA30014530
ANTENNAS FORMED                                                   circuitry. The wireless communications circuitry may include radio-           Zavala; Yijun Zhou;
FROM BEZEL BANDS                                                  frequency transceiver circuitry and antenna structures. An inverted-F         Mattia Pascolini;
WITH GAPS                                                         antenna may have first and second short circuit legs and a feed leg. The      Robert W. Schlub;
                                                                  first and second short circuit legs and the feed leg may be connected to      Ruben Caballero
                                                                  a folded antenna resonating element arm. The antenna resonating
                                                                  element arm and the first short circuit leg may be formed from portions
                                                                  of a conductive electronic device bezel. The folded antenna resonating
                                                                  element arm may have a bend. The bezel may have a gap that is located
                                                                  at the bend. Part of the folded resonating element arm may be formed
                                                                  from a conductive trace on a dielectric member. A spring may be used
                                                                  in connecting the conductive trace to the electronic device bezel
                                                                  portion of the antenna resonating element arm.




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       Title       Patent Number       Filing Date      Issue Date                                    Abstract                                     Inventor Name(s)        Starting Bates Number
UPRIGHT MOUNTED    US 9,684,184 B2     Sep. 8, 2014    Jun. 20, 2017 Some embodiments provide an actuator module for optical image                Scott W. Miller;          SAMNDCA30014548
CAMERA ACTUATOR                                                      stabilization of a lens assembly relative to an image sensor in a camera.    Douglas S. Brodie;
COMPONENT WITH                                                       In some embodiments, the actuator module includes a coil mounting            Aurelien R. Hubert
TRAPEZOIDAL                                                          structure. One or more optical image stabilization (OIS) coils is
MAGNET FOR                                                           mounted to the coil mounting structure. The actuator module further
OPTICAL IMAGE                                                        includes a lens assembly structure configured to hold a lens assembly.
STABILIZATION                                                        One or more autofocus coils is affixed to the lens assembly structure.
                                                                     The actuator module further includes a spring assembly for coupling
                                                                     the coil mounting structure to the lens assembly structure, such that the
                                                                     lens assembly structure is movable relative to the coil mounting
                                                                     structure. The actuator module further includes a plurality of
                                                                     trapezoidal magnets affixed to the lens assembly structure for magnetic
                                                                     interaction with one or more of the one or more optical image
                                                                     stabilization coils and the one or more autofocus coils.
CAMERA MODULE      US 9,703,173 B2     Apr. 21, 2015   Jul. 11, 2017 A camera module including a camera module carrier having a lens              Douglas Stuart Brodie;   SAMNDCA30014570
STRUCTURE HAVING                                                     actuator attached thereto and at least two conductive carrier traces that    Qiang Yang; Shaolong
ELECTRONIC                                                           are electrically connected to electrical contact points of the lens          Sui; Takeshi Ichimiya;
DEVICE                                                               actuator. The camera module having a lens barrel connected to the            Yoshiyuki Takase
CONNECTIONS                                                          camera module carrier. The lens barrel having a first conductive barrel
FORMED THEREIN                                                       trace and a second conductive barrel trace formed therein, the first
                                                                     conductive barrel trace and the second conductive barrel trace forming
                                                                     an alternating pattern of first contact regions and second contact
                                                                     regions along a top edge of the lens barrel and being electrically
                                                                     connected to respective ones of the at least two conductive carrier
                                                                     traces such that electrical signals can be routed between the camera
                                                                     module carrier and the lens barrel. The camera module further
                                                                     including an electronic device electrically connected to the lens
                                                                     actuator by the camera module carrier and the lens barrel.
LIQUID INGRESS-    US 9,716,934 B2     Apr. 24, 2015   Jul. 25, 2017 An acoustic device such as a microphone or speaker is positioned with        Phillip Qian; Edward     SAMNDCA30014595
REDIRECTING                                                          and coupled to a housing to connect an acoustic port of the acoustic         Siahaan; Erik L.
ACOUSTIC DEVICE                                                      device with an external opening of the housing. A reservoir is               Wang; Esge B.
RESERVOIR                                                            connected to the external opening via a bleed channel. The bleed             Andersen
                                                                     channel may be less resistive to liquid ingress than the acoustic port. As
                                                                     such, the reservoir and bleed channel may redirect liquid from the
                                                                     external opening away from the acoustic port. In some
                                                                     implementations, the reservoir and/or the bleed channel maybe defined
                                                                     by one or more acoustically permeable barriers such as meshes that
                                                                     cover the acoustic port, compressible materials such as foams that form
                                                                     a perimeter around the acoustic port, and/or adhesive layers that couple
                                                                     the acoustic device, the housing, and/or one or more other components.




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       Title        Patent Number        Filing Date     Issue Date                                   Abstract                                      Inventor Name(s)       Starting Bates Number
LAMINATED           US 9,718,249 B2     Nov. 16, 2012   Aug. 1, 2017 A cover glass for an electronic display comprises a plurality of layers       Kelvin Kwong             SAMNDCA30014612
ALUMINUM OXIDE                                                       of sapphire material, each of the layers having a substantially single
COVER COMPONENT                                                      crystal plane orientation, with adjacent layers having different
                                                                     substantially single crystal plane orientations. One or more interface
                                                                     layers are defined between adjacent layers of the sapphire material,
                                                                     with the adjacent layers of sapphire material bonded together at the one
                                                                     or more interface layers. A display window is defined in the cover
                                                                     glass, and configured for viewing a viewable area of the electronic
                                                                     display through the plurality of layers of the sapphire material bonded
                                                                     together at the one or more interface layers.
ELECTRONIC          US 9,723,997 B1     Feb. 9, 2015    Aug. 8, 2017 An electronic device includes a camera, an ambient light sensor, and a        Marcelo M. Lamego       SAMNDCA30014628
DEVICE THAT                                                          proximity sensor. The electronic device uses one or more of the camera
COMPUTES HEALTH                                                      and the proximity sensor to emit light into a body part of a user
DATA                                                                 touching a surface of the electronic device and one or more of the
                                                                     camera, the ambient light sensor, and the proximity sensor to receive at
                                                                     least part of the emitted light reflected by the body part of the user. The
                                                                     electronic device computes health data of the user based upon sensor
                                                                     data regarding the received light. In some implementations, the
                                                                     electronic device may also include one or more electrical contacts that
                                                                     contact one or more body parts of the user. In such implementations,
                                                                     the health data may be further computed based on the an electrical
                                                                     measurement obtained using the electrical contacts.
SINGLE PIECE CASE   US 9,735,595 B2     Jul. 31, 2015   Aug. 15, 2017 An accessory device for an electronic device is disclosed. The               Ian P. Colahan;         SAMNDCA30014644
WITH A BATTERY                                                        accessory device may include a unitary body having a first region, a         Darshan R. Kasar;
AND A HINGE                                                           second region, and a hinge positioned between the first region and the       Timothy J. Rasmussen;
                                                                      second region. When a force is applied to the first region, the first        John J. Baker;
                                                                      region may bend or pivot at the hinge. When bent, the first region           Shannon X. Yang;
                                                                      allows the electronic device to slide into or out of the accessory device.   Benjamin A. Cousins
                                                                      Further, the electronic device may slide into or out of the accessory
                                                                      device in a straight or linear manner. Also, the accessory device may
                                                                      further include a power supply designed to supply electrical current to a
                                                                      battery of the electronic device. The accessory device may further
                                                                      include a connector that electrically connects the power supply with the
                                                                      electronic device. The sliding motion of the electronic device prevents
                                                                      the connector from damage by bending.




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       Title     Patent Number        Filing Date   Issue Date                                   Abstract                                     Inventor Name(s)        Starting Bates Number
LIGHT SOURCE     US 9,736,283 B2     May. 15, 2014 Aug. 15, 2017 An electronic device has a camera assembly disposed in a housing of         Benjamin J. Pope; Ian     SAMNDCA30014668
WINDOW PAINT                                                     the electronic device that includes a light source assembly having a        A. Spraggs; Richard
                                                                 primary purpose for illuminating a subject during an imaging                Hung Minh Dinh;
                                                                 operation. The light source assembly includes a light source and a light    Rasamy Phouthavong;
                                                                 window. A light block can be applied to lateral surfaces of the light       Vincent Yan
                                                                 window to prevent light passing through the light window from
                                                                 propagating along an outer surface of the housing, or other components
                                                                 of the electronic device. In some embodiments, the light block can
                                                                 include multiple layers having various reflective and absorptive
                                                                 characteristics.
MICROSPEAKER     US 9,743,189 B2      Jan. 5, 2016   Aug. 22, 2017 A decoupled speaker membrane assembly for a microspeaker, the             Alexander V. Salvatti;   SAMNDCA30014689
WITH IMPROVED                                                      membrane including a first membrane portion, a compliant portion, a       Daniel K. Boothe
HIGH FREQUENCY                                                     second membrane portion and a suspension member. The compliant
EXTENSION                                                          portion is attached to, and extends radially outward from, an entire
                                                                   perimeter of the first membrane portion. The second membrane portion
                                                                   is attached to, and extends radially outward from the compliant portion
                                                                   such that the second membrane portion is decoupled from the first
                                                                   membrane portion by the compliant portion. The suspension member
                                                                   extends radially outward from the second membrane portion.
DROP COUNTER-    US 9,749,000 B2     Aug. 8, 2016    Aug. 29, 2017 An electronic device comprises a housing, a motion sensor configured      Carl R. Peterson;        SAMNDCA30014704
MEASURES FOR                                                       to sense motion of the housing, and a processor configured to             Justin R. Wodrich;
ELECTRONIC                                                         determine an impact geometry based on the motion. A countermeasure        Kevin D. Gibbs;
DEVICE                                                             system comprises an actuator coupled to an actuated member. The           Samuel G. Smith
                                                                   actuated member inoperable by the actuator to modify the impact
                                                                   geometry, so that impact energy is redirected away from an impact
                                                                   sensitive component of the electronic device to an energy absorbing
                                                                   component of the electronic device.
CO-MOLDED        US 9,750,322 B2     Aug. 3, 2015    Sep. 5, 2017 A method of manufacturing a co-molded housing component for an             David I. Nazzaro;        SAMNDCA30014721
CERAMIC AND                                                       electronic device is disclosed. A component formed from a ceramic          Joseph C. Poole; Kevin
POLYMER                                                           material is placed in a mold. The mold comprises a first section           M. Kenney; Naoto
STRUCTURE                                                         defining a first cavity configured to receive the first component, and a   Matsuyuki
                                                                  second section defining a second cavity that is in communication with
                                                                  the first cavity when the mold is closed. The second cavity is in the
                                                                  shape of a feature that is to be joined to the ceramic material. A
                                                                  polymer material is injected into the second cavity, thereby forming the
                                                                  feature from the polymer material and bonding the feature to the
                                                                  ceramic material. The polymer material is cured. The first component
                                                                  and the feature together form the housing component for an electronic
                                                                  device.




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       Title       Patent Number        Filing Date     Issue Date                                  Abstract                                        Inventor Name(s)       Starting Bates Number
HOUSING FEATURES   US 9,753,490 B2     Feb. 25, 2015   Sep. 5, 2017 An enclosure having an indicium (e.g., logo) and a method for securing         Matthew D. Hill;         SAMNDCA30014746
INCLUDING LOGO                                                      an indicium to an enclosure is disclosed. The enclosure includes an            Michael Benjamin
FEATURES OF AN                                                      aperture extending through an interior portion and an exterior portion         Wittenberg; Sawyer I.
ELECTRONIC                                                          of the enclosure. The aperture may include concentric portions. For            Cohen; Benjamin
DEVICE                                                              example, the aperture may include a first opening formed on an interior        Shane Bustle; Duy P.
                                                                    portion and a second opening smaller than the first opening formed on          Le
                                                                    the exterior portion. The indicium may include a flange member such
                                                                    that the indicium may extend through the first opening but not the
                                                                    second opening. Also, in some embodiments, a plate is adhesively
                                                                    secured to the indicium and the enclosure; however, the indicium is not
                                                                    directly adhesively secured to the enclosure. This may prevent
                                                                    adhesives from protruding from an interface region between the
                                                                    indicium and the enclosure.
CASE FOR A         US 9,756,914 B2     Jan. 29, 2015   Sep. 12, 2017 A case for an electronic device is disclosed. The case may include            John J. Baker; Edward   SAMNDCA30014766
PORTABLE                                                             several layers. An inner layer may be made from a rigid material such         L. Siahaan
ELECTRONIC                                                           as plastic. An outer layer is molded to an exterior portion of the inner
DEVICE                                                               layer. A fabric layer formed from a material such as microfiber is
                                                                     adhesively secured to an interior layer of the inner layer, the inner layer
                                                                     opposite the exterior layer. The inner layer may further include a
                                                                     recessed portion that receives a camera trim made from an opaque
                                                                     material. In this regard, when the electronic device is positioned within
                                                                     the case, the camera trim improves image capturing of a camera of the
                                                                     electronic device by blocking reflected light from a camera flash
                                                                     emitted by the electronic device.
MOBILE DEVICE      US 9,762,997 B2     Dec. 18, 2015   Sep. 12, 2017 A mobile communication device having an acoustic divider for                  Melissa A. Wah;         SAMNDCA30014790
ACOUSTIC DIVIDER                                                     minimizing acoustic coupling is disclosed. The mobile communication           Stoyan P. Hristov;
                                                                     device includes a housing having an outer surface and internal                Phillip Tamchina
                                                                     sidewalls. The outer surface and internal sidewalls define a void
                                                                     disposed at and below the outer surface of the housing. The mobile
                                                                     communication device includes a receiver disposed within the housing
                                                                     and below a first portion of the void, and a microphone disposed within
                                                                     the housing and below a second portion of the void. An acoustic
                                                                     divider is disposed within the void and laterally disposed between the
                                                                     receiver and the microphone. The acoustic divider acoustically isolates
                                                                     the first and second portions of the void, thereby minimizing acoustic
                                                                     coupling between the receiver and the microphone.




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       Title       Patent Number        Filing Date     Issue Date                                    Abstract                                        Inventor Name(s)       Starting Bates Number
SUSPENSION FOR     US 9,766,534 B2     Jun. 17, 2016   Sep. 19, 2017 A camera assembly and a method for mounting it in a portable                    David Glenn              SAMNDCA30014808
CAMERA TRIM                                                          electronic device are provided. The assembly includes a camera                  Havskjold; Anthony S.
ENABLING THINNER                                                     module, and a camera trim coupled with the camera module. The                   Montevirgen; Tyson
CAMERA STACK                                                         camera assembly includes a first shock mount coupling the camera trim           Benner Manullang
                                                                     to an interior surface of the housing, and a second shock mount
                                                                     coupling the camera trim to an exterior surface of the housing. The first
                                                                     and second shock mounts cooperate to suspend an outer perimeter of
                                                                     the camera trim within an opening of the housing of the portable
                                                                     electronic device. A mobile telecommunications device including a
                                                                     camera assembly as above is also provided.
OVERMOLDED         US 9,768,225 B2     Aug. 9, 2016    Sep. 19, 2017 A camera module including a die having a top side and a bottom side,            Julien C. Vittu         SAMNDCA30014820
RECONSTRUCTED                                                        an image sensor is positioned on the top side of the die and a
CAMERA MODULE                                                        conductive via is formed through the die to provide an electrical
                                                                     connection between the top side and the bottom side; an overmold
                                                                     casing formed around the die; and a lens holder assembly attached to
                                                                     the top side of the die and the overmold casing. A method of producing
                                                                     a camera module including providing an image sensor die that is
                                                                     overmolded within a casing, the image sensor die having atop side and
                                                                     a bottom side, wherein an image sensor is positioned on the top side
                                                                     and a conductive via is formed through the image sensor die from the
                                                                     top side to the bottom side; and attaching a lens holder to the top side
                                                                     of the image sensor die.
MOBILE ZOOM        US 9,769,389 B2     Sep. 30, 2015   Sep. 19, 2017 In some embodiments, a first camera unit of a multifunction device for          Scott W. Miller;        SAMNDCA30014847
USING MULTIPLE                                                       capturing a first image of a first visual field includes a first actuator for   Shashank Sharma;
OPTICAL IMAGE                                                        moving a first optical package. A second camera unit includes a second          Simon S. Lee
STABILIZATION                                                        actuator for moving a second optical package. The second camera unit
CAMERAS                                                              includes a second central magnet array situated along the axis between
                                                                     the first optics package of the first camera unit and the second optics
                                                                     package of the second camera unit. In some embodiments, the second
                                                                     central magnet array includes a second central upper magnet having a
                                                                     first polarity and a second central lower magnet having a polarity
                                                                     antiparallel to the first polarity. In some embodiments, the second
                                                                     camera unit includes a second distal magnet array situated opposite the
                                                                     second central magnet array with respect to the second optics package
                                                                     of the second camera unit.




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       Title     Patent Number        Filing Date     Issue Date                                    Abstract                                   Inventor Name(s)       Starting Bates Number
MOBILE ZOOM      US 9,774,787 B2     Sep. 30, 2015   Sep. 26, 2017 A first camera unit includes a first actuator for moving a first optical   Scott W. Miller;         SAMNDCA30014904
USING MULTIPLE                                                     package configured for a first focal length. In some embodiments, a        Aurelien R. Hubert;
OPTICAL IMAGE                                                      camera system of a multifunction device includes a second camera unit      Shashank Sharma;
STABILIZATION                                                      of the multifunction device for simultaneously capturing a second          Simon S. Lee
CAMERAS                                                            image of a second visual field. In some embodiments, the second
                                                                   camera unit includes a second actuator for moving a second optical
                                                                   package configured for a second focal length. In some embodiments,
                                                                   the second actuator includes a second actuator lateral magnet. In some
                                                                   embodiments, the first optical package and the second optical package
                                                                   are situated between the first actuator lateral magnet and the second
                                                                   actuator lateral magnet along an axis between the first actuator lateral
                                                                   magnet and the second actuator lateral magnet. In some embodiments,
                                                                   no actuator lateral magnets are situated between the first optical
                                                                   package and the second optical package along the axis.
ALUMINUM OXIDE   US 9,775,254 B2     Oct. 5, 2015    Sep. 26, 2017 A control mechanism comprises a housing defining an interior and an        Kelvin Kwong            SAMNDCA30014958
CONTROL                                                            exterior, an aperture formed in the housing and extending from the
MECHANISM                                                          interior to the exterior thereof, an actuator on the interior of the
                                                                   housing, proximate the control aperture, and a control member
                                                                   positionable within the aperture to operate the actuator. The control
                                                                   member comprises a first surface exposed to the exterior of the
                                                                   housing, a second surface proximate the actuator within the housing,
                                                                   and a body portion extending therebetween, the body portion being
                                                                   formed of a substantially single crystal aluminum oxide material. A
                                                                   bias member is configured to bias the body portion of the control
                                                                   member toward an inner surface of the housing, such that the control
                                                                   member is retained within the aperture in operation of the actuator.
GEARED HAPTIC    US 9,779,592 B1     Sep. 22, 2014   Oct. 3, 2017   A thin haptic feedback element suitable to provide a perceivable single   Storrs T. Hoen          SAMNDCA30014973
FEEDBACK                                                            pulse haptic feedback including an electromagnetic coil, a permanent
ELEMENT                                                             magnet or other magnetic field source rotatably coupled to an eccentric
                                                                    mass through a torque-increasing drive train. The haptic feedback
                                                                    element may rapidly accelerate and decelerate the eccentric mass to
                                                                    produce a perceivable haptic feedback.
PROTECTING AN    US 9,780,621 B2     Feb. 4, 2016    Oct. 3, 2017   An electronic device including a processor, at least one sensor in        Fletcher Rothkopf;      SAMNDCA30014987
ELECTRONIC                                                          communication with the processor, wherein the processor is configured     Colin M. Ely; Stephen
DEVICE                                                              to determine an orientation of the device and drop event based on input   B. Lynch
                                                                    from the at least one sensor. The electronic device further includes a
                                                                    motor in communication with the processor and a mass operably
                                                                    connected to the motor. The processor is configured to drive the motor
                                                                    when a drop event is determined and the mass is configured to rotate
                                                                    with respect to the motor to alter the orientation of the device.



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       Title      Patent Number       Filing Date     Issue Date                                     Abstract                                  Inventor Name(s)         Starting Bates Number
MECHANICAL        US 9,780,826 B2     Oct. 31, 2013   Oct. 3, 2017   An electronic device may include a mechanical structure that             Romain A. Teil;            SAMNDCA30015033
STRUCTURE WITH                                                       mechanically supports the electronic device. One or more traces may be   Michael B.
INTEGRATED                                                           formed on one or more surfaces of the mechanical structure. Other        Wittenberg; Steven J.
ELECTRONIC                                                           electrical components may also be mounted on the surface of the          Martisauskas; Kuo-
COMPONENTS                                                           mechanical structure and may or may not be connected to one or more      Hua Sung
                                                                     of the traces. Additionally, one or more passivation layers may be
                                                                     formed on one or more of the surfaces, traces, and/or other electrical
                                                                     components and one or more traces and/or other electrical components
                                                                     may be intermixed with such passivation layers. In this way, the
                                                                     mechanical structure may be operable to function as an electrical
                                                                     component of the electronic device.
DUAL CAMERA       US 9,781,345 B1     Feb. 12, 2016   Oct. 3, 2017   Some embodiments include a camera system having a first camera unit Scott W. Miller; Alfred        SAMNDCA30015047
MAGNET                                                               and a second camera unit. The first camera unit includes an autofocus      N. Mireault; Simon S.
ARRANGEMENT                                                          actuator. The autofocus actuator includes a first plurality of magnets for Lee
                                                                     autofocus motion control of components of a first optical package. The
                                                                     first plurality of magnets is positioned to generate magnetic fields
                                                                     aligned in parallel with a first magnetic axis at a right angle to the
                                                                     optical axis of the first optical package. The second camera unit
                                                                     includes an optical image stabilization and autofocus actuator. The
                                                                     optical image stabilization and autofocus actuator includes a second
                                                                     plurality of magnets positioned to generate magnetic fields aligned
                                                                     along a second magnet axis at 45-degrees to the first magnetic axis.
                                                                     The second camera unit includes a third plurality of magnets positioned
                                                                     to generate magnetic fields aligned along a third magnetic axis at 135-
                                                                     degrees to the first magnetic axis.
DOME SWITCH       US 9,786,449 B2     Mar. 7, 2013    Oct. 10, 2017 Systems and methods for providing input component assemblies for          Richard Hung Minh         SAMNDCA30015077
STACK AND                                                           dome switches are provided. In some embodiments, an input                 Dinh; Lee E. Hooton
METHOD FOR                                                          component assembly may include a contact area coupled to a circuit
MAKING THE SAME                                                     board for a switch, a conductive covering for enclosing the circuit
                                                                    board, and a dome positioned over the conductive covering, where the
                                                                    dome is operative to close at least one circuit of the switch when the
                                                                    dome is depressed towards the conductive covering.




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       Title      Patent Number       Filing Date      Issue Date                                    Abstract                                       Inventor Name(s)      Starting Bates Number
MINIATURE         US 9,791,674 B1     Aug. 6, 2015    Oct. 17, 2017 Some embodiments include a fixed chassis structure and a moveable              Richard J. Topliss;     SAMNDCA30015105
CAMERA ZOOM                                                         carriage body carrying one or more lenses. The fixed chassis structure         Richard H. Tsai;
ACTUATOR WITH                                                       includes a magnetic friction track. The moveable carriage body carries         Albert A. Ho; Thomas
MAGNET-INDUCED                                                      one or more lenses. An electrically-controllable magnet is mounted to          M. Gregory
FRICTION                                                            the moveable carriage body for generating a magnetic attraction force
                                                                    between the magnet and the magnetic friction track. The moveable
                                                                    carriage body is movably mounted to the chassis to allow movement
                                                                    along an optical axis through the one or more lenses. An inertial
                                                                    actuator is mounted to the moveable carriage body in an alignment
                                                                    such that the axis of motion of the actuator is parallel to the optical axis
                                                                    through the one or more lenses. The moveable carriage body is held in
                                                                    place with respect to the at least one allowed degree of freedom by one
                                                                    or more friction forces resulting from the magnetic attraction force.
DOME SWITCH       US 9,793,071 B2     Mar. 7, 2013    Oct. 17, 2017 Systems and methods for providing input component assemblies for               Richard Hung Minh      SAMNDCA30015143
STACK AND                                                           dome switches are provided. In some embodiments.an input component             Dinh; Lee E. Hooton
METHOD FOR                                                          assembly includes a switch, a button positioned over the switch, where
MAKING THE SAME                                                     the button is operative to close at least one circuit of the switch when
                                                                    the button is depressed towards the switch, an actuator positioned
                                                                    underneath the button to at least partially enclose at least one switch
                                                                    element, where the actuator is operative to deform when the button is
                                                                    depressed, and a weld plate welded to an underside surface of the
                                                                    button with at least one sonic weld joint to create a seal around the
                                                                    actuator and the at least one switch element, where a portion of the
                                                                    actuator is secured between the underside surface of the button and the
                                                                    weld plate.
SHARED ANTENNA    US 9,793,616 B2     Nov. 19, 2012   Oct. 17, 2017 Electronic devices may be provided that contain wireless                       Yuehui Ouyang;         SAMNDCA30015172
STRUCTURES FOR                                                      communications circuitry. The wireless communications circuitry may            Robert W. Schlub;
NEAR-FIELD                                                          include radio-frequency transceiver circuitry and antenna structures.          Nanbo Jin; Mattia
COMMUNICATIONS                                                      The antenna structures may include conductive housing structures such          Pascolini
AND NON-NEAR-                                                       as a peripheral conductive housing member. The antenna structures
FIELD                                                               may be based on an inverted-F antenna resonating element or other
COMMUNICATIONS                                                      types of antenna resonating element. An electronic device may have
CIRCUITRY                                                           near field communications circuitry and non-near-field
                                                                    communications circuitry such as cellular telephone, satellite
                                                                    navigation system, or wireless local area network transceiver circuitry.
                                                                    Antenna structures may be configured to handle signals associated with
                                                                    the non-near-field communications circuitry. The antenna structures
                                                                    may also have portions that form a near field communications loop
                                                                    antenna for handling signals associated with the near field
                                                                    communications circuitry.




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       Title      Patent Number       Filing Date      Issue Date                                   Abstract                                Inventor Name(s)           Starting Bates Number
DETECTING         US 9,813,864 B2     Nov. 4, 2013    Nov. 7, 2017 A mobile device can communicate with a wearable device to               Eugene Dvortsov;             SAMNDCA30015191
STOWING OR                                                         automatically detect when a stowed mobile device becomes unstowed       David J. Shoemaker
UNSTOWING OF A                                                     and/or when a mobile device that is in use become stowed. Detection of
MOBILE DEVICE                                                      stowing or unstowing of the mobile device can be based on comparison
                                                                   of data from sensors such as proximity sensors, motion sensors, and/or
                                                                   other environmental sensors between devices. When unstowing is
                                                                   detected, the mobile device can prepare itself for use based in part on
                                                                   context information provided by the wearable device, e.g., by
                                                                   activating a user interface component and/or launching an app based on
                                                                   the context information. When stowing is detected, the mobile device
                                                                   can inactivate a user interface component.
PORTABLE          US 9,817,436 B2    Dec. 20, 2007   Nov. 14, 2017 A portable multifunction device identifies a plurality of user interface    Greg Christie;          SAMNDCA30015220
MULTIFUNCTION                                                      objects. If the user interface objects meet a first predefined condition,   Imran Chaudhri; Scott
DEVICE, METHOD,                                                    the device then displays at least two of the user interface objects on a    Forstall; Stephen O.
AND GRAPHICAL                                                      touch screen display. If the user interface objects meet a second           Lemay
USER INTERFACE                                                     predefined condition. the device then divides the user interface objects
FOR DISPLAYING                                                     into at least first and second groups of user interface objects and then
USER INTERFACE                                                     displays a first group icon corresponding to the first group and at least
OBJECTS                                                            one user interface object from the second group on the touch screen
ADAPTIVELY                                                         display. If the user interface objects meet a third predefined condition,
                                                                   the device divides the user interface objects into at least third and
                                                                   fourth groups of user interface objects. The device then displays a third
                                                                   group icon corresponding to the third group and a fourth group icon
                                                                   corresponding to the fourth group.




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       Title    Patent Number       Filing Date     Issue Date                                     Abstract                                  Inventor Name(s)   Starting Bates Number
ACOUSTIC PORT   US 9,832,567 B2    Sep. 15, 2016   Nov. 28, 2017 An electronic device having an assembly is disclosed. The assembly is      Yaocheng Zhang;      SAMNDCA30015254
WITH AN                                                          designed to regulate fluid flow into the electronic device. The assembly   Benjamin J. Pope;
EMBEDDED                                                         may include a membrane having air-permeable and liquid-resistant           Teodor Dabov
MEMBRANE                                                         properties. In other to protect the membrane, the assembly includes a
                                                                 support member and a compressible membrane. Also, the assembly
                                                                 may further include a first housing member and a second housing
                                                                 member that combine to surround the membrane. Each feature of the
                                                                 assembly may include an opening to allow air to pass the assembly.
                                                                 When disposed in an opening of the electronic device, the assembly
                                                                 allows the device to receive air that is used by an operational
                                                                 component in the electronic device. The assembly protects the
                                                                 operational component from liquid ingress while allowing the
                                                                 operational component to communicate with the environment external
                                                                 to the device. The operation component may include a microphone, an
                                                                 audio speaker, or a pressure sensor.




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